      Case 1:25-cv-00999-TNM          Document 6-1    Filed 04/17/25    Page 1 of 57




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ASSOCIATION FOR EDUCATION
 FINANCE AND POLICY, INC.; THE
 INSTITUTE FOR HIGHER EDUCATION
 POLICY,

            Plaintiffs,                         Civil Action No. 25-999-TNM

              v.

 LINDA MCMAHON, in her official
 capacity as Secretary of Education; U.S.
 DEPARTMENT OF EDUCATION,

            Defendants.




                        MEMORANDUM IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION



                                               Adam R. Pulver (DC Bar No. 1020475)
                                               Karla Gilbride (DC Bar No. 1005886)
                                               Public Citizen Litigation Group
                                               1600 20th Street NW
                                               Washington, DC 20009
                                               (202) 588-1000
                                               apulver@citizen.org


                                               Counsel for Plaintiffs
April 17, 2025
          Case 1:25-cv-00999-TNM                            Document 6-1                 Filed 04/17/25                Page 2 of 57




                                                             TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 3
FACTS ............................................................................................................................................ 8
LEGAL STANDARD ................................................................................................................... 17
ARGUMENT ................................................................................................................................ 17
   I.         Plaintiffs are likely to succeed on the merits. ................................................................... 17
         A.        Plaintiffs have shown a likelihood of standing. ............................................................ 17
              1.      Organizational standing ............................................................................................ 18
              2.      Associational standing .............................................................................................. 21
         B.        Plaintiffs are likely to succeed on their claims. ............................................................ 24
              1.      Defendants’ actions are reviewable final agency action. .......................................... 24
              2.      The termination of IES research and dissemination activities was unlawful. .......... 27
                   a. The termination of IES activities was arbitrary and capricious. ............................ 27
                   b. Terminating IES’s activities is contrary to ESRA and the Higher Education
                      Opportunity Act. ..................................................................................................... 33
                   c. Defendants’ refusal to spend appropriated funds is unlawful. ............................... 35
                   d. Halting IES’s work is contrary to the separation of powers and ultra vires. .......... 36
              3.      The termination of the remote access program for restricted-use data is unlawful. . 38
   II.        AEFP, AEFP members, and IHEP will suffer irreparable harm absent a preliminary
              injunction. ......................................................................................................................... 40
   III. The balance of equities and the public interest support the grant of a preliminary
        injunction. ......................................................................................................................... 42
CONCLUSION ............................................................................................................................. 43




                                                                           i
         Case 1:25-cv-00999-TNM                        Document 6-1               Filed 04/17/25             Page 3 of 57




                                                    TABLE OF AUTHORITIES


AIDS Vaccine Advocacy Coalition v. U.S. Department of State,
  __ F. Supp. 3d __, 2025 WL 752378 (D.D.C. Mar. 10, 2025) ...................................... 25, 34, 35

Albrecht v. Committee on Employee Benefits of the Federal Reserve Employee Benefits System,
  357 F.3d 62 (D.C. Cir. 2004) ..................................................................................................... 25

American Federation of Government Employees v. Trump,
 929 F.3d 748 (D.C. Cir. 2019) ................................................................................................... 26

American Great Lakes Ports Ass’n v. Zukunft,
 296 F. Supp. 3d 27 (D.D.C. 2017) ............................................................................................. 32

American Historical Ass’n v. National Archives & Records Administration,
 516 F. Supp. 2d 90 (D.D.C. 2007) ............................................................................................. 18

American Immigration Council v. U.S. Department of Homeland Security,
 470 F. Supp. 3d 32 (D.D.C. 2020) ............................................................................................. 40

American Wild Horse Preservation Campaign v. Perdue,
 873 F.3d 914 (D.C. Cir. 2017) ................................................................................................... 27

Armstrong v. Exceptional Child Center, Inc.,
  575 U.S. 320 (2015) .................................................................................................................. 23

Beattie v. Barnhart,
 663 F. Supp. 2d 5 (D.D.C. 2009) ............................................................................................... 39

*Bennett v. Spear,
  520 U.S. 154 (1997) ................................................................................................................. 24

Biden v. Texas,
  597 U.S. 785 (2022) .................................................................................................................. 24

C.G.B. v. Wolf,
  464 F. Supp. 3d 174 (D.D.C. 2020) ........................................................................................... 41

CC Distributors, Inc. v. United States,
 883 F.2d 146 (D.C. Cir. 1989) ................................................................................................... 22

Chaplaincy of Full Gospel Churches v. England,
 454 F.3d 290 (D.C. Cir. 2006) ................................................................................................... 17




                                                                    ii
         Case 1:25-cv-00999-TNM                        Document 6-1                Filed 04/17/25             Page 4 of 57




Clinton v. City of New York,
  524 U.S. 417 (1998) .................................................................................................................. 35

Coalition for Humane Immigrant Rights v. U.S. Dep’t of Homeland Security,
 No. 1:25-cv-00943 (TNM), 2025 WL 1078776 (D.D.C. Apr. 10, 2025) .................................. 17

Correctional Services Corp. v. Malesko,
 534 U.S. 61 (2001) .................................................................................................................... 37

Council of Parent Attorneys & Advocates, Inc. v. DeVos,
 365 F. Supp. 3d 28 (D.D.C 2019) .............................................................................................. 18

Center for Biological Diversity v. Environmental Protection Agency,
 56 F.4th 55 (D.C. Cir. 2022)...................................................................................................... 21

Center for Biological Diversity v. Regan,
 734 F. Supp. 3d 1 (D.D.C. 2024) ............................................................................................... 21

Center for Biological Diversity v. U.S. International Development Finance Corp.,
  77 F.4th 679 (D.C. Cir. 2023)................................................................................................... 19

*Department of Homeland Security v. Regents of the University of California,
 591 U.S. 1 (2020) ................................................................................................................ 26, 39

Doctors for America v. Office of Personnel Management,
  __ F. Supp. 3d __, 2025 WL 452707 (D.D.C. Feb. 11, 2025) ................................................. 22

Electronic Privacy Information Center v. Presidential Advisory Commission on Election
  Integrity,
  878 F.3d 371 (D.C. Cir. 2017) ................................................................................................... 17

*Environmental Defense Fund v. Environmental Protection Agency,
  922 F.3d 446 (D.C. Cir. 2019) ............................................................................................. 18, 20

Federal Election Commission v. Akins,
  524 U.S. 11 (1998) .................................................................................................................... 17

Food & Drug Administration v. Alliance for Hippocratic Medicine,
  602 U.S. 367 (2024) ................................................................................................................. 17

Free Enterprise Fund v. Public Co. Accounting Oversight Board,
  561 U.S. 477 (2010) .................................................................................................................. 37

Friends of Animals v. Jewell,
  824 F.3d 1033 (D.C. Cir. 2016) ................................................................................................. 18



                                                                    iii
         Case 1:25-cv-00999-TNM                        Document 6-1               Filed 04/17/25             Page 5 of 57




*In re Aiken County,
  725 F.3d 255 (D.C. Cir. 2013) ................................................................................................... 34

Immigration & Naturalization Service v. Chadha,
  462 U.S. 919 (1983) .................................................................................................................. 35

J. Does 1-26 v. Musk,
   No. 25-1273, 2025 WL 1020995 (4th Cir. Mar. 28, 2025) ....................................................... 35

J.W. Hampton, Jr. & Co. v. United States,
  276 U.S. 394 (1928) .................................................................................................................. 36

Kingman v. Park Civic Ass’n v. Bowser,
  815 F.3d 36 (D.C. Cir. 2016) ..................................................................................................... 17

*League of Women Voters of United States v. Newby,
  838 F.3d 1 (D.C. Cir. 2016) ................................................................................................ 20, 41

Local 2677, American Federation of Government Employees v. Phillips,
  358 F. Supp. 60 (D.D.C. 1973) .................................................................................................. 37

Love v. Thomas,
  858 F.2d 1347 (9th Cir. 1988) ................................................................................................... 32

*Megapulse, Inc. v. Lewis,
 672 F.2d 959 (D.C. Cir. 1982) ................................................................................................... 25

Michigan v. Environmental Protection Agency,
 576 U.S. 743 (2015) .................................................................................................................. 26

Mistretta v. United States,
 488 U.S. 361 (1989) .................................................................................................................. 36

*Motor Vehicles Manufacturers Ass’n of U.S. v. State Farm Mutual Automobile Insurance Co.,
 463 U.S. 29 (1983) .................................................................................................................... 26

National Ass’n of the Deaf v. Trump,
 486 F. Supp. 3d 45 (D.D.C. 2020) ............................................................................................. 40

National Council of Nonprofits v. Office of Management & Budget,
  __ F. Supp. 3d __ , 2025 WL 597959 (D.D.C. Feb. 25, 2025) ................................................ 32

*National Treasury Employees Union v. Vought,
 Civ. No. 25-0381 (ABJ), 2025 WL 942772 (D.D.C. Mar. 28, 2025) ..................... 21, 24, 27, 41




                                                                    iv
         Case 1:25-cv-00999-TNM                        Document 6-1               Filed 04/17/25             Page 6 of 57




New York. v. Trump,
  __ F.4th __, 2025 WL 914788 (1st Cir. Mar. 26, 2025)........................................................... 24

Natural Resources Defense Council v. Raimondo,
 Civ. No. 23-982 (BAH), 2024 WL 4056653 (D.D.C. Sept. 5, 2024) ........................................ 23

Open Communities Alliance v. Carson,
 286 F. Supp. 3d 148 (D.D.C. 2017) ........................................................................................... 41

Payne Enterprises, Inc. v. United States,
 837 F.2d 486 (D.C. Cir. 1988) ................................................................................................... 40

*People for the Ethical Treatment of Animals v. U.S. Department of Agriculture,
  797 F.3d 1087 (D.C. Cir. 2015) ................................................................................................. 22

Powder River Basin Resource Council v. U.S. Department of Interior,
 749 F. Supp. 3d 151 (D.D.C. 2024)........................................................................................... 23

Pursuing America’s Greatness v. Federal Election Commission,
 831 F.3d 500 (D.C. Cir. 2016) ................................................................................................... 17

Robertson v. District of Columbia,
 __ F. Supp. 3d __, 2025 WL 211056 (D.D.C. Jan. 16, 2025) ................................................... 17

Seton Historic Aviation Foundation v. U.S. Department of Defense,
  785 F.3d 719 (D.C. Cir. 2015) ................................................................................................... 22

*Spirit Airlines, Inc. v. U.S. Department of Transportation,
  997 F.3d 1247 (D.C. Cir. 2021) ........................................................................................... 24, 30

Transohio Savings Bank v. Director, Office of Thrift Supervision,
  967 F.2d 598 (D.C. Cir. 1992) ................................................................................................... 25

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .................................................................................................................. 17

Turlock Irrigation Dist. v. Federal Energy Regulatory Commission,
  786 F.3d 18 (D.C. Cir. 2015) ..................................................................................................... 19

U.S. Conference of Catholic Bishops v. U.S. Department of State,
 No. 1:25-cv-00465 (TNM), 2025 WL 763738 (D.D.C. Mar. 11, 2025) ................................... 25

United Farm Workers v. Perdue,
 No. 1:20-cv-01452-DAD, 2020 WL 6318432 (E.D. Cal. Oct. 28, 2020) ................................. 40




                                                                    v
         Case 1:25-cv-00999-TNM                          Document 6-1                Filed 04/17/25              Page 7 of 57




Utility Air Regulatory Group v. Environmental Protection Agency,
 573 U.S. 302 (2014) ............................................................................................................ 36, 37

*Widakuswara v. Lake,
 No. 25-CV-2390 (JPO), 2025 WL 945869 (S.D.N.Y. Mar. 28, 2025) ................... 24, 27, 33, 41

Wilkerson v. Rahrer,
 140 U.S. 545 (1891) .................................................................................................................. 36

Statutes and Regulations

Impoundment Control Act:

   2 U.S.C. § 683 ........................................................................................................................... 34

   *2 U.S.C. § 683(b) ..................................................................................................................... 34

Administrative Procedure Act:

   5 U.S.C. § 702 ........................................................................................................................... 25

   5 U.S.C. § 704 ........................................................................................................................... 26

   *5 U.S.C. § 706(2)(A) ............................................................................................................... 23

Higher Education Opportunity Act

   20 U.S.C. § 1015a(i)(4) ............................................................................................................... 4

   *20 U.S.C. § 1015a(k) ..................................................................................................... 4, 18, 33

20 U.S.C. § 1464 ............................................................................................................................. 6

20 U.S.C. § 2324 ......................................................................................................................... 6, 9

20 U.S.C. § 2324(a)(3) .................................................................................................................... 4

20 U.S.C. § 2351(a)(1)(B) .............................................................................................................. 5

*20 U.S.C. § 3473(a) .................................................................................................................... 36

20 U.S.C. § 6398(e) ........................................................................................................................ 5

20 U.S.C. § 6633(c) ........................................................................................................................ 6

20 U.S.C. § 6645 ............................................................................................................................. 6

                                                                      vi
         Case 1:25-cv-00999-TNM                         Document 6-1                Filed 04/17/25               Page 8 of 57




20 U.S.C. § 7275(f) ......................................................................................................................... 6

Education Sciences Reform Act of 2002, Pub. L. 107-279 ............................................................ 3

   *20 U.S.C. § 9511 ....................................................................................................................... 4

   20 U.S.C. § 9511(b) ................................................................................................................... 36

   *20 U.S.C. § 9512 ................................................................................................................. 4, 18

   20 U.S.C. § 9513 ......................................................................................................................... 4

   *20 U.S.C. § 9520 ..................................................................................................................... 28

   20 U.S.C. § 9533 ......................................................................................................................... 5

   *20 U.S.C. § 9533(a)(7) ............................................................................................................ 18

   *20 U.S.C. § 9534(b)(2) ........................................................................................................... 36

   *20 U.S.C. § 9543(a) ............................................................................................................. 9, 18

   *20 U.S.C. § 9545(b) ........................................................................................................... 10, 33

   *20 U.S.C. § 9545(c) ................................................................................................................. 18

   *20 U.S.C. § 9546(e)(2) ............................................................................................................ 18

   *20 U.S.C. § 9562(a) ............................................................................................................. 5, 18

   *20 U.S.C. § 9562(b) ............................................................................................................. 5, 18

   20 U.S.C. § 9562(d) ............................................................................................................... 6, 13

   *20 U.S.C. § 9564 ................................................................................................................. 5, 11

   20 U.S.C. § 9567 ......................................................................................................................... 6

   20 U.S.C. § 9567b ....................................................................................................................... 6

   20 U.S.C. § 9573(c) ................................................................................................................... 14

   *20 U.S.C § 9574 ............................................................................................................ 4, 14, 18



                                                                     vii
         Case 1:25-cv-00999-TNM                          Document 6-1                Filed 04/17/25               Page 9 of 57




   *20 U.S.C § 9575 .................................................................................................................. 4, 39

   *20 U.S.C. § 9576(c) ................................................................................................................. 28

Educational Technical Assistance Act

   20 U.S.C. § 9603 ....................................................................................................................... 28

National Assessment of Educational Progress Authorization Act

   20 U.S.C. § 9622 ......................................................................................................................... 4

   20 U.S.C. § 9622(b) ............................................................................................................... 9, 33

   20 U.S.C. § 9622(f) ..................................................................................................................... 9

25 U.S.C. § 5348(b)(1)(B)(i) .......................................................................................................... 5

29 U.S.C. § 3332(b)(3) ........................................................................................................... 10, 33

31 U.S.C. § 1512(c)(1) .................................................................................................................. 35

38 U.S.C. § 3015 ............................................................................................................................. 5

44 U.S.C. § 3582(a) ...................................................................................................................... 39

Further Consolidated Appropriations Act, 2024, Pub. Law 118-47, 138 Stat. 690 ........................ 7

Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. Law 119-4, 139 Stat. 9 .... 7

Regulations and Executive Actions

5 C.F.R. § 1321.4(d) ..................................................................................................................... 39

Executive Order 14210, “Implementing the Presidents ‘Department of Government Efficiency’
   Workforce Optimization Initiative 90 Fed. Reg. 9669 (February 14, 2025) .................... 14, 29
Congressional Materials

H.R. Rep. 107-404 .......................................................................................................................... 3

S. Rept. 118-84 ............................................................................................................................... 7

Cong. Res. Serv., K-12 Education: Highlights of the No Child Left Behind Act of 2001
  (P.L. 107-110), Jan. 7, 2008, https://www.congress.gov/crs-product/RL31284....................... 3



                                                                      viii
        Case 1:25-cv-00999-TNM                           Document 6-1                 Filed 04/17/25               Page 10 of 57




Other Executive Materials

DOGE, (@DOGE), X.com (Feb. 10, 2025 7:43pm),
  https://x.com/DOGE/status/1889113011282907434 .................................................................. 8

*DOGE, Wall of Receipts, https://www.doge.gov/savings............................................................. 8

ED (@usedgov), X.com (Feb. 12, 2025 5:16pm),
  https://x.com/usedgov/status/1889800710084317454 ............................................................. 39

ED, Department of Education Fiscal Year 2004 Congressional Action,
 https://www.ed.gov/sites/ed/files/about/overview/budget/budget24/24action.pdf ..................... 7

ED, EDFacts Workbook and Frequently Asked Questions (FAQs),
  Version 2.5, SY 2023-24, Jan. 2025,
  https://www.ed.gov/sites/ed/files/about/inits/ed/edfacts/eden/edfacts-workbook-with-faqs-23-
  24.pdf.......................................................................................................................................... 9

ED, EDPass User Guide, Version 2.2, Nov. 2024, https://www.ed.gov/sites/ed/files/2024-
  11/EDPass%20User%20Guide.pdf ............................................................................................ 8

*ED, Press Release, “U.S. Department of Education Initiates Reduction in Force,” Mar. 11,
  2025, https://www.ed.gov/about/news/press-release/us-department-of-education-initiates-
  reduction-force ......................................................................................................................... 12

Federal Procurement Data System, http://www.fpds.gov ............................................................... 8

IES, “Celebrating the ECLS-K:2024: Providing Key National Data on Our Country’s Youngest
  Learners,” Mar. 11, 2024, https://ies.ed.gov/learn/blog/celebrating-ecls-k2024-providing-key-
  national-data-our-countrys-youngest-learners. ......................................................................... 31

IES, IES Staff, https://ies.ed.gov/about/directory ......................................................................... 12

IES, Restricted Use Data Security Plan Form,
  http://nces.ed.gov/statprog/rudman/pdf/SecurityPlanRemoteAccess_508c.pdf ...................... 15

IES, The Regional Educational Laboratory (REL) Program, https://ies.ed.gov/use-work/regional-
  educational-laboratories-rel ...................................................................................................... 29

NCES, Assessment Calendar, https://nces.ed.gov/nationsreportcard/about/calendar.aspx .......... 11

NCES, Condition of Education 2024, https://nces.ed.gov/use-work/resource-
  library/report/compendium/condition-education-2024 ............................................................ 10

NCES, DataLab, About, https://nces.ed.gov/datalab/about .......................................................... 11



                                                                        ix
       Case 1:25-cv-00999-TNM                        Document 6-1               Filed 04/17/25              Page 11 of 57




NCES, Early Childhood Longitudinal Studies (ECLS) Program, https://nces.ed.gov/ecls/ ........... 9

NCES, High School & Beyond Longitudinal Studies, https://nces.ed.gov/surveys/hsb/ ............. 10

NCES, National Assessment of Educational Progress, Resources for Researchers,
  https://nces.ed.gov/nationsreportcard/researchcenter/................................................................ 9

NCES, National Postsecondary Student Aid Study (NSPAS), https://nces.ed.gov/surveys/npsas/ 9

NCES, National Postsecondary Student Aid Study (NPSAS), About NPSAS,
 https://nces.ed.gov/surveys/npsas/about.asp.............................................................................. 31

NCES, National Teacher and Principal Survey, Overview,
  https://nces.ed.gov/surveys/ntps/overview.asp?OverviewType=1 ............................................. 9

NCES, New Restricted-Use License Application,
  https://nces.ed.gov/statprog/licenseapp/LicenseInfo ................................................................ 16

NCES, Restricted-Use Data Procedures Manual, Apr. 2019,
  https://nces.ed.gov/statprog/rudman/pdf/IES_Licensing_manual_2019.pdf . ......................... 14

NCES, Statistical Standards Program, Restricted Use Data Licenses,
  https://nces.ed.gov/statprog/instruct.asp. ................................................................................ 15

Office of Personnel Management, FedScope, https://www.fedscope.opm.gov/........................... 12

ResearchDataGov, https://www.researchdatagov.org/. ................................................................. 16

ResearchDataGov.org (RDG) User Guide, Mar. 2025,
  https://manager.researchdatagov.org/RDG_User_Guide.pdf ................................................... 15

U.S. Census Bureau, “Non-Fiscal Surveys of the Common Core of Data (CCD),”
  https://www.census.gov/econ/overview/go2000.html ............................................................... 9

Other Authorities

American Statistical Ass’n & Council on Professional Ass’ns on Federal Statistics, “Fix the
 Staffing Shortage at the National Center for Education Statistics (NCES),” 2024,
 https://www.amstat.org/docs/default-source/amstat-documents/pol-nces_
 staffingappropsfy24.pdf ............................................................................................................... 7

American Statistical Ass’n, “National Center for Education Statistics,” The Nation’s Data at
 Risk: Meeting America’s Information Needs for the 21st Century,
 https://www.amstat.org/docs/default-source/amstat-documents/the-nation's-data-at-risk-
 supporting-materials/national-center-for-education-statistics.pdf?v=1024 ................................. 7


                                                                    x
        Case 1:25-cv-00999-TNM                          Document 6-1                Filed 04/17/25               Page 12 of 57




Jill Barshay, “Chaos and confusion as the statistics arm of the Education Department is reduced
    to a skeletal staff of 3,” The Hechinger Report, Mar. 14, 2025,
    https://hechingerreport.org/proof-points-chaos-confusion-statistics-education/. ..................... 10


Jill Barshay, “NAEP, the Nation’s Report Card, was supposed to be safe. It’s not,” The Hechinger
    Report, Apr. 7, 2025, https://hechingerreport.org/proof-points-naep-not-safe/ ....................... 10

Kalyn Belsha, “Crucial research halted as DOGE abruptly terminates Education Department
 contracts,” Chalkbeat, Feb. 11, 2025, https://www.chalkbeat.org/2025/02/11/elon-musk-and-
 doge-cancel-education-department-research-contracts/ ............................................................ 32

Rebecca Carballo & Juan Perez, Jr., “DOGE announces $881 million in cuts for Education
  Department contracts,” Politico, Feb. 10, 2025,
  https://www.politico.com/news/2025/02/10/education-department-pauses-research-contracts-
  00203494 .................................................................................................................................... 8

Lexi Lonas Cochran, “Research arm of Education Department sees cuts after DOGE review,”
  The Hill, Feb. 11, 2025, https://thehill.com/homenews/education/5138004-education-
  department-research-arm-doge-review/ ..................................................................................... 8

Benjamin Feder & Jonathan N. Mills, Coleridge Initiative, “Fostering a community of practice
  around restricted use surveys for the public good” (2023),
  https://www.census.gov/fedcasic/fc2023/pdf/6B-FederB.pptx. ............................................... 15

Linda Jacobson, “After Declaring NAEP Off-Limits, Education Department Cancels Upcoming
  Test,” The 74, Feb. 20, 2025, https://www.the74million.org/article/after-declaring-naep-off-
  limits-education-department-cancels-upcoming-test/ .............................................................. 12

Jonaki Mehta, “How the Education Department cuts could hurt low-income and rural schools,”
   NPR, Mar. 21, 2025, https://www.npr.org/2025/03/21/nx-s1-5330917/trump-schools-
   education-department-cuts-low-income ................................................................................. 13

Naaz Modan, “What will NCES layoffs mean for the Nation’s Report Card,” K-12 Dive (Mar.
   18, 2025), https://www.k12dive.com/news/Education-Department-nces-layoffs-leaves-naep-
   assessments-nations-report-card-barebones/742837/ ............................................................. 13

Nicole M. McNeil & Robert Stuart Siegler, “Helping teachers learn what works in the classroom
  − and what doesn’t − will get a lot harder without the Department of Education’s Institute of
  Education Sciences,” The Conversation, Feb. 12, 2025, https://theconversation.com/helping-
  teachers-learn-what-works-in-the-classroom-and-what-doesnt-will-get-a-lot-harder-without-
  the-department-of-educations-institute-of-education-sciences-247675 ................................... 42

Ryan Quinn & Katherine Knott, “$900 Million in Institute of Education Sciences Contracts
  Axed,” Inside Higher Ed, Feb. 12, 2025, https://www.insidehighered.com/news/faculty-
  issues/research/2025/02/12/900m-institute-education-sciences-contracts-axed# .................... 38

                                                                       xi
       Case 1:25-cv-00999-TNM                  Document 6-1           Filed 04/17/25          Page 13 of 57




Mark Schneider, “Modernizing Access to Education Data Could Improve Student Learning,”
  Education Next, June 12, 2024, https://www.educationnext.org/modernizing-access-to-
  education-data-could-improve-student-learning/ ..................................................................... 37

Benjamin Michael Superfine, New Directions in School Funding and Governance: Moving
  from Politics to Evidence, 98 Ky. L.J. 653, 686 (2010). ............................................................ 3

Greg Toppo, “Is Trump Gutting Education Research a New Beginning or Just ‘Slashing &
   Burning’?”, The 74, Feb. 11, 2025, https://www.the74million.org/article/is-trump-gutting-
   education-research-a-new-beginning-or-just-slashing-burning/ ............................................ 27

Greg Toppo, “Stunned Education Researchers Say Cuts Go Beyond DEI, Hitting Math,
   Literacy,” The 74, Feb. 13, 2025, https://www.the74million.org/article/stunned-education-
   researchers-say-cuts-go-beyond-dei-hitting-math-literacy/. ................................................... 40




                                                          xii
     Case 1:25-cv-00999-TNM             Document 6-1       Filed 04/17/25      Page 14 of 57




                                         INTRODUCTION

       Based on its judgment that educational policy at the federal, state, and local levels is best

informed by scientific evidence and a robust infrastructure for gathering that evidence on a national

level, Congress in 2002 created the Institute of Education Sciences (IES) as a semi-independent

division within the Department of Education (ED). Congress then, and repeatedly since, tasked

IES with numerous obligations to conduct research on all aspects of education in America, and to

make research and data widely available to researchers and the public. Last year, Congress

appropriated nearly $800 million to IES to perform those tasks—largely via contracts with third

parties, overseen by a relatively small staff.

       By a series of actions over the last two months, Defendants ED and Secretary of Education

Linda McMahon (collectively, ED) have stopped IES’s statutorily mandated work and neutered

its ability to resume that work. First, ED terminated IES’s performance of several functions by

cancelling en masse dozens of contracts related to research studies, dissemination activities, and

IES’s basic internal and support operations. ED did so although those functions were necessary

for IES to carry out its statutorily mandated tasks, and without considering how the resulting

cessation of those functions would impact researchers, policymakers, and educational institutions

that rely on that work. One month later, ED initiated a reduction-in-force as to 90% of IES

employees and placed them on administrative leave. And it did so without instituting a plan to

transition the vital functions upon which researchers and others rely, thus halting those functions.

By these actions, ED began to dismantle a congressionally mandated agency—based on an

unreasoned judgment that the research and evaluation that Congress has specifically directed, and

on which policymakers, researchers, practitioners, and the public rely to improve education in

America, is inefficient. ED has no authority to substitute its policy view for the will of Congress,

embodied in statute.
                                                 1
     Case 1:25-cv-00999-TNM            Document 6-1         Filed 04/17/25      Page 15 of 57




       The arbitrariness by which Defendants halted the performance of IES functions is

confirmed by subsequent developments. Two weeks after deciding to terminate one of the

mechanisms by which IES collects data for several statutory mandated assessments (a program

called EDFacts), ED scrambled to reinstate the program. And on April 4, seven weeks after IES

announced the termination of its remote access program for restricted-use data and halted its

processing of new applications to access restricted-use data, and weeks after it eliminated the staff

that had been clearing for publication researchers’ work that relied on such data, IES sent an email

to restricted-use data users “to assess the level of program support required to continue … vital

service and comply with applicable law.” Such a “cut first, ask questions later” approach is the

epitome of arbitrary and capricious decisionmaking. Moreover, by ceasing statutorily mandated

functions and refusing to spend the funds appropriated to perform them, Defendants’ actions are

contrary to law.

       The impacts of Defendants’ actions are not speculative. Beyond the restricted-use data

program, peer review of grant applications has ceased, and, because peer review is required by

statute, no new grants can be approved. In addition, because ongoing data collections have been

canceled, and websites that are used to collect or access data are not operational, users of that data,

including Plaintiffs Association for Education Finance and Policy (AEFP) and Institute for Higher

Education Policy (IHEP), have suffered, and will continue to suffer harm. AEFP is an association

of 1,000 education researchers and practitioners and IHEP is a research, policy, and advocacy

organization—both of which have already experienced harm in performing their core activities of

analyzing and disseminating data as a result of Defendants’ actions. AEFP, its members, and IHEP

rely on IES’s performance of its statutory mandate by gathering and timely dissemination of

current, irreplaceable research and data. The termination of IES’s collection and dissemination of



                                                  2
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 16 of 57




research causes irreparable harm that cannot be remedied a year or more down the road. As data

degrades and disappears, study participants move, and as contractors and terminated employees

move on, it will be harder, if not impossible, to rebuild IES. Preliminary relief is thus appropriate

to stop the harms that are already occurring and the harms that are likely to follow should

Defendants be allowed to complete the evisceration of IES and termination of its statutory

functions.

                                        BACKGROUND

       The turn of the century saw the passage of several landmark pieces of education-related

legislation at the federal level, all of which emphasized scientifically based research and

accountability. Perhaps most well-known is the No Child Left Behind Act of 2001, Pub. L. 107-

110, enacted in January 2002, which amended the Elementary and Secondary Education Act of

1962 (ESEA) and “extensively amended and reauthorized most federal elementary and secondary

education aid programs.”1 In conjunction with that law, Congress also reorganized the federal

government’s educational research functions, which had previously been mostly located within

the Office of Educational Research and Improvement. That office “ha[d] been attacked for

supporting fragmented, short-term, and overly politicized research, and funding for educational

research ha[d] long been limited.”2 To address those criticisms, Congress enacted the Education

Sciences Reform Act of 2002 (ESRA), Pub. L. 107-279, “to provide the mechanism for valid

research that would be cumulative and inform education practices at the State and local levels with

well-documented findings.” H.R. Rep. 107-404, at 30–31 (2002). ESRA established IES as a new,



       1
         Cong. Res. Serv., K-12 Education: Highlights of the No Child Left Behind Act of 2001
(P.L. 107-110), Jan. 7, 2008, https://www.congress.gov/crs-product/RL31284.
       2
         Benjamin Michael Superfine, New Directions in School Funding and Governance:
Moving from Politics to Evidence, 98 Ky. L.J. 653, 686 (2010).

                                                 3
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 17 of 57




semi-independent division of ED, and vested IES with responsibilities both for continuing to

conduct existing studies like the National Assessment of Educational Progress (NAEP), and for

undertaking or sponsoring new research, along with responsibilities to make research and data

widely available to researchers and the public. See 20 U.S.C. §§ 9501–9584. ESRA specifies that

the duties created by ESRA may not be delegated by the Secretary of Education to entities other

than IES, and limits the additional responsibilities that the Secretary may impose on IES. See id.

§ 9513.

       Within IES are four separate “National Education Centers”—the National Center for

Education Research (NCER), the National Center for Education Statistics (NCES), the National

Center for Education Evaluation and Regional Assistance (NCEE), and the National Center for

Special Education Research (NCSER). Id. § 9511. In ESRA, Congress prescribed duties for both

IES as a whole and for each of the centers—duties that include the conduct of research and

evaluation on dozens of topics, and the dissemination of the results of that research and evaluation

in specific ways. See, e.g., id. § 9512 (requiring IES to “conduct and support scientifically valid

research activities,” and “widely disseminate the findings and results of scientifically valid

research in education”). Among its dissemination mandates, Congress required that any data

collected by IES and its subsidiaries “shall be made available to the public, including through use

of the internet,” id. § 9574, and that IES “disseminat[e] information in a timely fashion and in

formats that are easily accessible and usable by researchers, practitioners, and the general public,”

“utilizing the most modern technology and other methods,” id. § 9575.

       The largest of the four centers has been NCES, which has existed in some form since the

1860s. The responsibilities of NCES include, among other things, the conduct and dissemination

of NAEP, 20 U.S.C. § 9622; the maintenance of the Integrated Postsecondary Education Data



                                                 4
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 18 of 57




System (IPEDS), id. § 1015a(i)(4); the regular conduct and dissemination of national surveys of

federal student aid recipients as to the costs of postsecondary education, id. § 1015a(k); the regular

collection and report of information on career and technical education (CTE), id. § 2324(a)(3); and

the collection of data on the education of migratory children, id. § 6398(e). NCES is also required

to generate data and information used by other parts of ED and other federal agencies. For example,

NCES calculates the average cost of undergraduate tuition, and agencies use its calculation to

determine the amounts of educational assistance provided to veterans under 38 U.S.C. § 3015, to

determine the amounts of assistance provided to states for Indian education, 25 U.S.C. §

5348(b)(1)(B)(i), and to determine the amounts of funds for career and technical education

assistance provided to local educational agencies, 20 U.S.C. § 2351(a)(1)(B).

       The other centers also have particular functions specified by statute. NCER is required, for

example, to “maintain published peer-review standards”; propose and implement a plan “to carry

out scientifically valid research” on a number of topics, and synthesize and disseminate that

research. Id. § 9533. NCEE is required to “widely disseminate information on scientifically valid

research, statistics, and evaluation on education” to researchers, educational agencies, and the

public on specified topics, “including by making information accessible in a user-friendly, timely

and efficient manner (including through use of a searchable Internet-based online database.” Id.

§ 9562(a). NCEE also is required to establish and maintain various information clearinghouses,

and to respond “to inquiries from schools, educators, parents, administrators, policymakers,

researchers, public and private entities.” Id. §§ 9562(a)(7), 9562(b). Congress also charged NCEE

with establishing and maintaining “Regional Educational Laboratories” around the country, which

not only are required to conduct and disseminate research, but also to provide training, technical

assistance, and other resources to state and local educational institutions and agencies, schools,



                                                  5
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 19 of 57




parents, policymakers, and the public. Id. § 9564. NCEE also operates the National Library of

Education, which is required to collect and archive a wide range of products, publications, and

research, and to provide services to federal employees, contractors, grantees, and members of the

public. Id. § 9562(d).

       Finally, NCSER, the smallest of the four national centers, is dedicated to sponsoring

research related to “the needs of infants, toddlers, and children with disabilities.” Id. § 9567(b).

NCSER also works to improve services provided under, and support the implementation of, the

Individuals with Disabilities Education Act (IDEA), and, in coordination with NCEE, to conduct

evaluation activities regarding IDEA implementation. Id. The statute specifies 17 topics as to

which NCSER “shall carry out research activities,” the results of which must be synthesized and

disseminated through NCEE. Id. §§ 9567b(a), (e).

       In addition to the responsibilities assigned to it in the Education Sciences Reform Act, other

statutes task IES with conducting and disseminating research and evaluation related to

implementation of the IDEA, 20 U.S.C. § 1464; and on the condition of career and technical

education, and effectiveness of federally funded career and technical education programs under

the Perkins Act, id. § 2324. Congress also assigned IES duties related to various grant programs,

requiring IES to evaluate program activities and provide resources to grant recipients. See, e.g., id.

§ 6645 (Comprehensive Literacy State Development Grants), § 6633(c) (Teacher and School

Leader Incentive Program), § 7275(f) (Full-Service Community Schools Program).

       IES, and the studies and data collections it oversees, have been vital to educational research

in America over the past several decades. “IES, its data sets, and the principles and demands that

it has placed on educational researchers have led to more methodologically sound studies.” Decl.




                                                  6
      Case 1:25-cv-00999-TNM             Document 6-1          Filed 04/17/25   Page 20 of 57




of Douglas N. Harris ¶ 10. It has “provid[ed] the education research infrastructure in this country.”

Decl. of Cara Jackson ¶ 14.

        In 2024, Congress appropriated $793,106,000 for IES to conduct its work. See Department

of Education Appropriations Act, 2024, Div. D, Title III of the Further Consolidated

Appropriations Act, 2024, Pub. Law 118-47, 138 Stat. 690 (Mar. 23, 2024). This amount includes

appropriations of $121,500,000 specifically for NCES, $53,733,000 for the Regional Educational

Laboratory program, $28,500,000 for statewide longitudinal data systems, $193,300,000 for the

NAEP, and $73,500,000 for program administration. See ED, Department of Education Fiscal

Year 2024 Congressional Action, at 8, https://www.ed.gov/sites/ed/files/about/overview/budget/

budget24/24action.pdf ; S. Rept. 118-84 at 247 (incorporated into statute by Pub. Law 118-47 § 4

and Explanatory Statement, 170 Cong. Rec. H1501, 1886 (Mar. 22, 2024)). Congress has

continued funding at these levels for 2025. See Sec. 1101(a)(8), Full-Year Continuing

Appropriations and Extensions Act, 2025, Pub. Law 119-4 (Mar. 15, 2025). Because only the

“program administration” funds may be used to pay salaries of IES employees, IES has long relied

on contractors, rather than staff, to carry out its duties.3

        The President has not proposed the rescission of any funds appropriated to IES.




        3
         See Am. Statistical Ass’n & Council on Prof. Ass’ns on Fed. Statistics, “Fix the Staffing
Shortage at the National Center for Education Statistics (NCES),” 2024,
https://www.amstat.org/docs/default-source/amstat-documents/pol-
nces_staffingappropsfy24.pdf; Am. Statistical Ass’n, “National Center for Education Statistics,”
The Nation’s Data at Risk: Meeting America’s Information Needs for the 21st Century,
https://www.amstat.org/docs/default-source/amstat-documents/the-nation's-data-at-risk-
supporting-materials/national-center-for-education-statistics.pdf?v=1024.

                                                    7
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 21 of 57




                                              FACTS

The Mass Termination of IES Programs

       Since February 2025, Defendants have terminated several IES programs en masse. The

decision to do so was first announced on February 10, 2025, when representatives of the

“Department of Government Efficiency” (DOGE) arrived at IES and informed senior IES

leadership of their decision, ratified by Defendants, that most of IES’s contracts would be canceled.

See Decl. of Erin Pollard Young ¶ 7; Decl. of Abigail Doe ¶ 6. The decision was made without

any discussion or input of any IES staff—including the staff that oversaw these programs. Young

Decl. ¶¶ 8–9; Abigail Doe Decl. ¶ 10. DOGE subsequently announced this decision on its X

account,4 and has since posted on its “Wall of Receipts” website that 90 IES contracts were

canceled between February 9 and 11, 2025.5 This list may be incomplete, however; reports indicate

the cancellation of as many as 170 contracts at that time.6 On the “Wall of Receipts.” DOGE

counted the full value of terminated contracts as “savings” to taxpayers, indicating that the money

that had been allocated to these contracts will not be funneled to other IES work.

       Although the full scope of work on the canceled contracts is not publicly available,

available information reveals that IES terminated several IES initiatives, including7 :


       4
              DOGE,       (@DOGE),      X.com              (Feb.       10,      2025       7:43pm),
https://x.com/DOGE/status/1889113011282907434.
       5
           DOGE, Wall of Receipts, https://www.doge.gov/savings.
       6
         Lexi Lonas Cochran, “Research arm of Education Department sees cuts after DOGE
review,” The Hill, Feb. 11, 2025, https://thehill.com/homenews/education/5138004-education-
department-research-arm-doge-review/; Rebecca Carballo & Juan Perez, Jr., “DOGE announces
$881 million in cuts for Education Department contracts,” Politico, Feb. 10, 2025,
https://www.politico.com/news/2025/02/10/education-department-pauses-research-contracts-
00203494.
       7
         The termination of these contracts was reflected on both the DOGE “Wall of Receipts,”
and on the Federal Procurement Data System, http://www.fpds.gov, neither of which allow linking


                                                 8
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25     Page 22 of 57




       •     The EDFacts Initiative, which is “the foundation and primary collection system for
             elementary and secondary education data, and a centralized information management
             tool for ED, state education agencies and lead agencies.”8 EDFacts is the tool by which
             data is collected for the Non-Fiscal Common Core of Data (CCD)—which in turn is
             used for the National Assessment of Educational Progress (NAEP), required by 20
             U.S.C. § 9622.9 EDFacts is also used by various ED offices to implement numerous
             reporting and evaluation requirements, including those imposed by the Every Student
             Succeeds Act, Individuals with Disabilities Education Act, McKinney-Vento Homeless
             Program, and the Gun-Free Schools Act.10

       •     The National Teachers and Principals Survey (NTPS), which collects data every two
             to three years on “core topics including teacher and principal preparation, classes
             taught, school characteristics, and demographics of the teacher and principal labor
             force”—a version of which has been conducted since 1987.11

       •     The National Postsecondary Student Aid Study (NPSAS), a survey required by 20
             U.S.C. § 1015a(k), the results of which have been, and were scheduled to continue to
             be, posted publicly on NCES’s website.12

       •     The National Implementation Study of Career and Technical Education under Perkins
             V, required by 20 U.S.C. § 2324.13




to a specific contract. Plaintiffs thus provide the relevant Award ID numbers for each contract
discussed.
       8
         Award ID 91990023D0008/91990024F0331; ED, EDPass User Guide, Version 2.2, Nov.
2024, https://www.ed.gov/sites/ed/files/2024-11/EDPass%20User%20Guide.pdf.
       9
         ED, EDFacts Workbook and Frequently Asked Questions (FAQs), Version 2.5, SY 2023-
24, Jan. 2025, at 12, https://www.ed.gov/sites/ed/files/about/inits/ed/edfacts/eden/edfacts-
workbook-with-faqs-23-24.pdf (explaining relationship between EDFacts and CCD); U.S. Census
Bureau,    “Non-Fiscal    Surveys    of    the    Common       Core   of   Data    (CCD),”
https://www.census.gov/econ/overview/go2000.html (explaining relationship between CCD and
NAEP).
       10
            EDFacts Workbook, at 7–15.
       11
         Award ID 91990020A0014/91990022F0328; see NCES, National Teacher and Principal
Survey, Overview, https://nces.ed.gov/surveys/ntps/overview.asp?OverviewType=1.
       12
          Award ID 91990022C0017/91990018C0039; see NCES, National Postsecondary
Student Aid Study (NSPAS), https://nces.ed.gov/surveys/npsas/.
       13
            Award ID 91990019D0002/91990025F0014 and 91990021F0368.

                                                  9
      Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25     Page 23 of 57




        •     The Early Childhood Longitudinal Study, Kindergarten: 2024 (ECLS-K:2024), by
              which IES was fulfilling its duties under 20 U.S.C. § 9543(a)(1)(B) and (L), and which
              had already begun to produce valuable data for researchers.14

        •     The NAEP Research and Development Program, which fulfills the requirements of 20
              U.S.C. § 9622(b)(5) and (f), and, according to IES, “support[s] NAEP in maintaining
              its reputation as the ‘gold standard of student assessment.’”15 This program includes
              the NAEP Validity Studies Panel (NVS), which “maintains the rigorous quality of the
              exam by studying whether the questions on the tests are measuring the skills we care
              about and if the scores can be trusted.”16

        •     The High School and Beyond Longitudinal Study of 2022 (HS&B:22), which had been
              delayed due to the pandemic but had already begun to produce valuable data for
              researchers.17

        •     The National Assessment of Adult Education, which was designed to implement IES’s
              obligations under section 242 of the Adult Education and Family Literacy Act
              (AEFLA), 29 U.S.C. § 3332(b)(3).18

        •     The Condition of Education Report “an annual report mandated by the U.S. Congress
              [per 20 U.S.C § 9545(b)] and is designed to help policymakers and the public monitor
              the condition and progress of education in the United States,” which includes more than
              45 indicators and comprehensive data about all stages of education from early
              childhood through K-12 through postsecondary through job attainment.19

The termination of the contracts for these data collections and studies meant these programs ceased

to exist.




        14
         Award ID 91990019C0002; see NCES, Early Childhood Longitudinal Studies (ECLS)
Program, https://nces.ed.gov/ecls/.
        15
         Award ID 91990023D0006; see NCES, National Assessment of Educational Progress,
Resources for Researchers, https://nces.ed.gov/nationsreportcard/researchcenter/.
        16
        Jill Barshay, “NAEP, the Nation’s Report Card, was supposed to be safe. It’s not,” The
Hechinger Report, Apr. 7, 2025, https://hechingerreport.org/proof-points-naep-not-safe/
        17
          Award ID 91990018F0018; see NCES, High School & Beyond Longitudinal Studies,
https://nces.ed.gov/surveys/hsb/.
        18
             Award ID 91990018C0057.
        19
             Award ID 91990024F0347; NCES, Condition of Education 2024,
https://nces.ed.gov/use-work/resource-library/report/compendium/condition-education-2024.

                                                  10
     Case 1:25-cv-00999-TNM               Document 6-1     Filed 04/17/25      Page 24 of 57




       In addition, Defendants halted the performance of other IES programs by terminating

dozens of contracts necessary for IES staff and contractors to conduct, analyze, and disseminate

research, including contracts for information technology support, including the restricted-data use

program, discussed in greater detail below,20 for the mail center that sends out and processes survey

responses for several data collections,21 for statutorily mandated peer review of grant applications

and completed research, 22 and for basic services for the National Library of Education.23

       Finally, Defendants ended programs by which IES shares data and research with

researchers, policymakers, practitioners, and the public, including halting maintenance of

DataLab—the secure, web-based platform that provides access to public data collected and

managed by NCES,24 the What Works Clearinghouse,25 and the production and dissemination of

other reports and internet materials.26

       Since the initial tranche of contract cancellations was publicly posted on the DOGE website

and Federal Procurement Data System, approximately thirty additional IES contract cancellations

have been noted on those sites. On February 13, for example, ED terminated the contracts for the




       20
         Award ID 91990023D0046/91990023F0330,                   91990020A0002/91990025F0013,
91990023D0046/91990024F0327.
       21
            Award ID 91990020F0309.
       22
            Award ID 91990023D003/91990024F0304, 91990022C0008 and 91990022C0066.
       23
            Award ID 03310320D0223 and 91990024F0026.
       24
             Award ID GS-35F-0329Y/91990019F0001;                see   NCES,     DataLab,    About,
https://nces.ed.gov/datalab/about.
       25
        E.g., Award ID 91990021A0003/91990023F0336, 91990021A0004/91990023F0072;
91990021A0022/91990024F0342;     91990020D0005/91990024F0310,    91990023A0001/
91990024F0316
       26
         Award ID 91990023D0005, 91990024F0330, 91990023D0042/91990024F0347,
91990023D0029/91990024F0345

                                                 11
     Case 1:25-cv-00999-TNM              Document 6-1        Filed 04/17/25   Page 25 of 57




ten Regional Educational Laboratories, required by 20 U.S.C. § 9564.27 On or around February

19, 2025, ED terminated one of the components of the National Assessment for Educational

Progress, the long-term assessment for age 17.28 And on or around March 10, 2025, ED canceled

the contract to develop a “centralized, streamlined, and more efficient approach to disseminating

research and statistics to stakeholders as directed by the Education Sciences Reform Act.”29

       After their initial decision to cancel IES programs, Defendants revisited their decision to

terminate EDFacts. The Federal Procurement Data System reflects that they took steps to reinstate

it on February 28, 2025.30

The Reduction in Force of 90% of IES Staff Positions

       Even after ED made the decision to terminate many of IES’s programs, some work at the

agency was theoretically able to continue—both via the contracts that had not yet been terminated

and by IES staff who coordinate and oversee contracts and provide other services. According to

the Office of Personnel Management, as of September 2024, IES had a total of 186 employees. 31

As of March 2025, IES’s staff directory showed 166 employees.32 But any notion that the work of


       27
        Award ID 91990022C0003, 91990022C0008, 91990022C0009, 91990022C0010,
91990022C0011, 91990022C0012, 91990022C0013, 91990022C0014, 91990022C0015.
       28
           It is unclear if this cancellation was tied to a particular contract, but Defendants have
confirmed the cancellation of this assessment. See NCES, Assessment Calendar,
https://nces.ed.gov/nationsreportcard/about/calendar.aspx (“The LTT assessments for age 17 were
cancelled based on a decision made by the U.S. Department of Education in February 2025.”); see
also Linda Jacobson, “After Declaring NAEP Off-Limits, Education Department Cancels
Upcoming Test,” The 74, Feb. 20, 2025, https://www.the74million.org/article/after-declaring-
naep-off-limits-education-department-cancels-upcoming-test/ (quoting Feb. 19, 2025 email from
NCES announcing that “The U.S. Department of Education has decided not to fund the NAEP
2024-2025 Long-Term Trend Age 17 assessment.”).
       29
            Award ID 91990024F0051.
       30
            Award ID 91990024F0331.
       31
            OPM, FedScope, https://www.fedscope.opm.gov/.
       32
            IES, IES Staff, https://ies.ed.gov/about/directory.

                                                   12
     Case 1:25-cv-00999-TNM          Document 6-1       Filed 04/17/25     Page 26 of 57




IES would continue—including the work previously performed by contractors, was put to rest on

March 11, 2025.

       That day, as part of what Defendant McMahon referred to as ED’s “final mission,”

Defendants initiated a mass reduction-in-force (RIF), firing approximately 90% of IES

employees.33 The RIF eliminated the positions of nearly all of the staff in NCER, NCES, and

NCEE—leaving approximately 20 employees. Young Decl. ¶ 14. NCER and NCEE will each be

left with a single employee—their respective Commissioners—one of whom also serves as the

Acting Director of IES. Id. NCES will go from a staff of approximately 100 to a staff of 3. Id.34

The RIF included statutorily mandated positions, including the only librarian position at the

National Library of Education, which is required to “be headed by an individual who is highly

qualified in library science.” 20 U.S.C. § 9562(d)(1)(A). The Director of Information Technology

and the Information Security Specialist, who run the servers that host IES websites and make sure

that sensitive data remains confidential, were also subject to the RIF. Young Decl. ¶ 14.

Terminated staff included the employees tasked with ensuring the quality of the data collected as

part of NAEP and undertaking post-collection analysis.35

       While the IES employees’ employment will not formally end until June 10, 2025, the

employees lost physical access to ED facilities as of March 11, 2025. See Young Decl. ¶ 13.



       33
          ED, Press Release, “U.S. Department of Education Initiates Reduction in Force,” Mar.
11, 2025, https://www.ed.gov/about/news/press-release/us-department-of-education-initiates-
reduction-force.
       34
         See Jonaki Mehta, “How the Education Department cuts could hurt low-income and rural
schools,” NPR, Mar. 21, 2025, https://www.npr.org/2025/03/21/nx-s1-5330917/trump-schools-
education-department-cuts-low-income.
       35
         Naaz Modan, “What will NCES layoffs mean for the Nation’s Report Card,” K-12 Dive,
Mar. 18, 2025, https://www.k12dive.com/news/Education-Department-nces-layoffs-leaves-naep-
assessments-nations-report-card-barebones/742837/ .

                                               13
      Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 27 of 57




Between March 11 and March 21, 2025, IES employees subject to the RIF were not allowed to

send external emails, making it impossible for them to communicate with contractors, constituents,

or others served by the agency. Young Decl. ¶ 13. As of March 21, 2025, the employees subject

to the RIF were placed on administrative leave; they no longer have access to any ED accounts or

systems. Id. Staff who supervised contracts terminated as part of Defendants’ mass February

actions were not able to complete the closeouts of those contracts prior to being placed on

administrative leave, or make plans to reinitiate the terminated programs, thus leaving it uncertain

whether data and other products related to those contracts will ever be sent to IES. Id. ¶¶ 13, 15.

        On April 10, 2025, the IES employees subject to the RIF received a formal notice of

separation. See Young Decl. ¶ 13, Ex. 2. Those notices indicated that entire units of IES were being

abolished. They cited Executive Order 14210, “Implementing the President’s ‘Department of

Government Efficiency’ Workforce Optimization Initiative,” 90 Fed. Reg. 9669 (Feb. 11, 2025),

as the basis for the action. Id.

The Winddown of the Restricted-Use Data Program

        Defendants’ contract terminations and placement of 90% of IES staff on leave have already

resulted in the termination of several IES functions, even beyond research and other initiatives like

ECLS-K:2024, and programs like the Regional Educational Laboratories, which were directly

terminated when the contracts by which they operated were canceled. The most glaring public

examples have been with respect to IES’s Restricted-Use Data Program.

        As background, IES is required to make all data that it collects publicly available

“including through use of the internet.” 20 U.S.C § 9574. Because some of that data contains

individually identifiable information, the statute, 20 U.S.C. § 9573(c), requires IES to develop and

enforce confidentiality standards regarding access to and use of that data, which IES refers to as



                                                 14
     Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 28 of 57




“restricted-use data.”36 Access to restricted-use data is limited to qualified organizations and

provided through a strict licensing process, administered by NCES.37 Traditionally, IES issued

only “physical” licenses, by which users were provided data on CD-ROMs, which could only be

used on a standalone, desktop computer not connected to the internet, and contained in a secure

facility referred to as a “cold room.”38 In 2020, “due to prior access issues highlighted during the

COVID-19 pandemic,” IES launched its remote access program for restricted-use data.39 The

program, like programs for remote access to data operated by other federal statistical agencies,

utilizes the Administrative Data Research Facility, hosted by the Coleridge Initiative, and allows

researchers to access data remotely, through a specific secure web-based application.40 Prior to

February 10, 2025, ED was planning to transition the remote program from Coleridge to a new

service platform. See Voight Decl. ¶ 18, Ex.1. Anytime a restricted-use data license holder

(whether that license is a physical one or a remote one) intends to share research or analysis based

on restricted data with a third party (whether in a conference presentation, a journal article,

dissertation, or a blog post), they must first obtain permission from IES through a disclosure risk

review.41


       36
             NCES, Restricted-Use Data Procedures Manual, Apr.                     2019,     at   7,
https://nces.ed.gov/statprog/rudman/pdf/IES_Licensing_manual_2019.pdf .
       37
            Id.
       38
            Id. at 22–23, 32–35.
       39
          Benjamin Feder & Jonathan N. Mills, Coleridge Initiative, “Fostering a community of
practice   around    restricted    use   surveys    for    the     public     good”   (2023),
https://www.census.gov/fedcasic/fc2023/pdf/6B-FederB.pptx.
       40
              ResearchDataGov.org      (RDG)      User  Guide,   Mar.     2025,  at   20,
https://manager.researchdatagov.org/RDG_User_Guide.pdf; see also IES, Restricted Use Data
Security                                       Plan                                 Form,
http://nces.ed.gov/statprog/rudman/pdf/SecurityPlanRemoteAccess_508c.pdf.
       41
             NCES, Statistical Standards         Program,    Restricted    Use    Data     Licenses,
https://nces.ed.gov/statprog/instruct.asp.

                                                15
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 29 of 57




       Defendants’ mass terminations of contracts and staff have led to changes to both access to,

and use of, restricted-use data. At least one of the contracts cancelled as part of Defendants’ mass

termination provided the staff for the Statistical Standards and Data Confidentiality office, the IES

office that deals with restricted-use data licenses and uses of data obtained through such

licensing.42 On February 10, 2025, the same day that contract was canceled, citing “budgetary and

programmatic considerations,” IES informed all remote restricted-use data license holders that,

contrary to prior plans, ED was terminating its remote access program effective June 1, 2025, and

that it would no longer accept new applications. Voight Decl. ¶ 18, Ex. 1. Consistent with this

announcement, ResearchDataGov, 43 the web-portal through which researchers apply for restricted

use licenses, currently includes the following banner:




       On February 14, 2025, IES announced that disclosure risk reviews, which typically are

completed within five to ten business days, may be delayed “[d]ue to recent reductions in

resources.”44 Declaration of Brent J. Evans ¶ 10, Ex.1. On the morning of March 28, 2025, some

NCES data users received an email from an office of the National Science Foundation stating that,

“until further notice, all disclosure review and additional actions such as license renewals are

paused,” and that restricted data licensees “may not release any output, such as tabulations or

estimates, until the pause is lifted and your output is cleared through disclosure review.” Decl. of



       42
            Award ID 91990022F0006.
       43
            https://www.researchdatagov.org/.
       44
                  NCES,           New         Restricted-Use           License          Application,
https://nces.ed.gov/statprog/licenseapp/LicenseInfo.

                                                 16
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 30 of 57




Belinda Doe ¶ 3, Ex. 1. No reason for this “pause” was given. After this “pause” was publicly

reported and criticized, on March 31, 2025, a “correction” was sent from the same National Science

Foundation office stating that “Disclosure reviews continue, although users should expect delays

in responses to both new and existing requests.” Id. ¶ 4, Ex. 2.

                                      LEGAL STANDARD

       To obtain a preliminary injunction, “the moving party must show: (1) a substantial

likelihood of success on the merits; (2) that it would suffer irreparable injury if the preliminary

injunction were not granted; (3) that an injunction would not substantially injure other interested

parties; and (4) that the public interest would be furthered by the injunction.” Chaplaincy of Full

Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citations omitted). In actions to

enjoin the government, the final two preliminary-injunction factors—balancing the equities and

the public interest—merge. Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016).

                                          ARGUMENT

I.     Plaintiffs are likely to succeed on the merits.

       A.      Plaintiffs have shown a likelihood of standing.

       A plaintiff seeking a preliminary injunction must show a substantial likelihood of standing.

Elec. Privacy Inf. Ctr. v. Pres. Advisory Comm’n on Election Integrity, 878 F.3d 371, 377 (D.C.

Cir. 2017)). “An organizational plaintiff can demonstrate standing by either organizational

standing, showing injury to itself, or associational standing—that is, ‘a cognizable injury to one or

more of its members.’” Robertson v. D.C., No. CV 24-0656 (PLF), 2025 WL 211056, at *4

(D.D.C. Jan. 16, 2025) (quoting Kingman v. Park Civic Ass’n v. Bowser, 815 F.3d 36, 39 (D.C.

Cir. 2016)). AEFP has standing under both theories, and IHEP has organizational standing.




                                                 17
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 31 of 57




               1.        Organizational standing

       AEFP and IHEP have standing because Defendants’ conduct “has directly affected and

interfered with the organization[s’] core activities.” Coalition for Humane Immigrant Rights v.

DHS, No. 1:25-cv-00943 (TNM), 2025 WL 1078776, at *4 (D.D.C. Apr. 10, 2025) (quoting FDA

v. All. for Hippocratic Med., 602 U.S. 367 (2024)). Specifically, Defendants’ actions have

deprived, and continued to deprive, AEFP and IHEP of “information [that] would help [them] (and

others to whom [the organization] would communicate it).” FEC v. Akins, 524 U.S. 11, 21 (1998);

see also TransUnion LLC v. Ramirez, 594 U.S. 413, 441–42 (2021) (recognizing that a plaintiff

suffers a concrete injury where they are denied information required to be disclosed by law, and

that denial has “downstream consequences”). “The law is settled that ‘a denial of access to

information’ qualifies as an injury in fact ‘where a statute (on the claimants’ reading) requires that

the information ‘be publicly disclosed’ and there ‘is no reason to doubt their claim that the

information would help them.’” Env’t Def. Fund v. EPA, 922 F.3d 446, 452 (D.C. Cir. 2019)

(quoting Friends of Animals v. Jewell, 824 F.3d 1033, 1040–41 (D.C. Cir. 2016)); see Council of

Parent Attorneys & Advocates, Inc. v. DeVos, 365 F. Supp. 3d 28, 39–45 (D.D.C 2019) (finding

organization had standing based on delayed production of other ED data). This harm exists even

where the production of data is merely delayed. See Am. Hist. Ass’n v. NARA, 516 F. Supp. 2d 90,

106 (D.D.C. 2007) (recognizing that “denial of ‘timely access’” to documents is a cognizable

informational injury).

       Here, several provisions of ESRA require IES to provide information to AEFP and IHEP.

The statute requires IES both to conduct research, and to “widely disseminate the findings and

results of scientifically valid research in education.” 20 U.S.C. § 9512. It requires that all data

collected by IES “be made available to the public,” subject to privacy protections. Id. § 9574. And



                                                 18
      Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25       Page 32 of 57




it requires IES to “[d]isseminat[e] information in a timely fashion and in formats that are easily

accessible and usable by researchers, practitioners, and the general public,” to “utilize the most

modern technology and other methods available…to ensure the efficient collection and timely

distribution of information,” and to “mak[e] information available to the public in an expeditious

fashion.” Id. § 9575. In addition, several other provisions of ESRA and other laws require IES to

conduct information and research on specific topics, and to disseminate the information to the

public. See, e.g., 20 U.S.C. § 1015a(k)(4); § 9533(a)(7), § 9543(a); § 9545(c); § 9546(e)(2),

§ 9562(a)(2)–(3) and (b). These provisions reflect a “clear command” for IES “to provide robust

public information,” and thus “there can be no doubt that these provisions create a right to

information sufficient for [Plaintiffs’] injury.” Ctr. for Bio. Diversity v. U.S. Int’l Dev. Fin. Corp.,

77 F.4th 679, 686 (D.C. Cir. 2023).

       Both AEFP and IHEP use the information that IES disseminates in ways that will be

impeded by Defendants’ actions. Part of AEFP’s mission is to promote education research and

development, and to encourage and support experimentation and reform based on evidence-based

research. See Decl. of Michal Kurlaender ¶ 6. One of the activities by which it furthers that mission

is the “Live Handbook,” a website that offers comprehensive analyses of evidence-based research

across various fields of education research, and relies heavily on IES published data and reports.

Decl. of Douglas Harris ¶¶ 6–7, 9; see also Kurlaender Decl. ¶ 8. Live Handbook is designed to

be updated every year based on the most current research. Harris Decl. ¶¶ 3, 5. If IES does not

conduct and disseminate such research, it will be harder for AEFP to operate Live Handbook to

serve its intended function in synthesizing and sharing the most up-to-date knowledge. Id. ¶ 7. In

addition, AEFP publishes a journal, Education Finance and Policy (EFP). Kurlaender Decl. ¶ 9.

Over the last year, the majority of the articles published in the journal were produced with IES



                                                  19
     Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 33 of 57




funding, used IES data, or cited IES studies. Id. Without the research and data that IES funds and

disseminates, EFP will receive fewer high-quality, nationally representative studies to publish. Id.

By eliminating data sources and mechanisms for accessing data that AEFP relies on in publishing

Live Journal and EFP, Defendants’ actions “perceptibly impair[]” AEFP’s “ability to provide

services,” i.e., the dissemination of evidence-based research, to its members, policymakers,

educators, and the public. Turlock Irr. Dist. v. FERC, 786 F.3d 18, 24 (D.C. Cir. 2015).

        Like AEFP, IHEP directly relies on IES-produced data in doing its work, including data

obtained through IES’s Integrated Postsecondary Education Data System (IPEDS), the College

Scorecard (which itself relies on data collections from IPEDS), NPSAS, and the Beginning

Postsecondary Students (BPS) Longitudinal Study. See Decl. of Mary Voight ¶¶ 6–12. The

termination of NPSAS—which provides data for BPS—will impede IHEP’s ability to obtain and

use the information it relies upon to do its work. Id. ¶ 12. IHEP staff have also experienced

difficulties accessing public-use data already collected by IES as part of those studies through

DataLab since the contract for that site’s upkeep was terminated. Id. ¶ 16. In addition, IHEP holds

a remote restricted-use data license, which, as a result of Defendants’ actions, will be terminated

on June 1. Id. ¶¶ 17–18. The loss of that license, and resulting deprivation of information, will

further harm IHEP’s ability to do its work. Id. ¶ 19. Finally, IHEP has been unable to publish

research it has already conducted that uses restricted-use data due to ED’s failure to process

requests for disclosure risk reviews. Id. ¶¶ 20–22.

       These harms are not speculative. Defendants have already terminated studies like NPSAS

and ECLS-K:2024. And Defendants have announced changes to the restricted-use data program

and explicitly tied them to the actions challenged here. Defendants’ actions “unquestionably make

it more difficult for Plaintiffs to accomplish [their] primary missions,” League of Women Voters



                                                20
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 34 of 57




of United States v. Newby, 838 F.3d 1 (D.C. Cir. 2016), of promoting research and development

and encouraging and supporting experimentation and reform in educational policy (AEFP), and

harnessing data to inform policy decisions that will improve postsecondary access and success for

all students (IHEP). See Kurlaender Decl. ¶¶ 5–7; Voight Decl. ¶¶ 4–5, 25.

       “The law is settled that a denial of access to information qualifies as an injury in fact where

a statute (on the [plaintiffs’] reading) requires that the information be publicly disclosed and there

is no reason to doubt their claim that the information would help them.” Environmental Defense

Fund v. EPA, 922 F.3d 446, 452 (D.C. Cir. 2019) (internal quotation marks and citation omitted).

Here, because continued access to research and data published by IES will help AEFP and IHEP,

the organizations have established injury traceable to Defendants’ dismantling of IES and the

termination of its research and dissemination functions. And an order requiring those functions to

be restored would redress those injuries. As the D.C. Circuit recently recognized, district courts

have the authority to require agencies to rescind notices of contract termination, bar the wholesale

cancellation of contracts, and prohibit large-scale terminations of employees where doing so would

prohibit the functioning of a statutorily mandated agency. Nat’l Treas. Emps. Union v. Vought,

No. CV 25-0381 (ABJ), 2025 WL 942772, at *46 (D.D.C. Mar. 28, 2025) (ordering agency to

rescind notices of contract termination and reinstate employees), stay denied in relevant part, No.

25-5091 (D.C. Cir. Apr. 11, 2025).

               2.      Associational standing

       In addition, AEFP has associational standing. A membership organization may assert

associational standing if “‘(1) at least one member of the association has standing to sue in her

own right (based on a showing of harm, causation, and redressability), (2) the interests the

association seeks to protect by suing on its members’ behalf are germane to its purpose, and



                                                 21
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 35 of 57




(3) neither the asserted claim nor the relief requested requires individual members to participate in

the litigation.’” Ctr. for Biological Diversity v. Regan, 734 F. Supp. 3d 1, 32 (D.D.C. 2024)

(quoting Ctr. for Biological Diversity v. EPA, 56 F.4th 55, 66 (D.C. Cir. 2022)). Each of these

requirements is satisfied.

       First, the accompanying declarations of Brent Evans, Kevin Gee, Cara Jackson, Michal

Kurlaender, and Kevin Stange show that AEFP members will suffer, or have suffered, harm as a

result of the challenged actions. Some of these harms are financial. For example, AEFP member

Cara Jackson has lost her job because the contracts she was working on were terminated, and the

IES employees her projects relied upon placed on leave. See Jackson Decl. ¶¶ 11, 13. AEFP

member Kevin Gee had grant proposals that were pending before IES, but he has been told that

those proposals will not be acted upon as a result of Defendants’ actions. Decl. of Kevin Gee ¶¶

8–11; see also Kurlaender Decl, ¶ 11 (discussing similar reports from other AEFP members).

AEFP members cannot get in touch with the project officers overseeing their grants. Kurlaender

Decl. ¶¶ 11, 14. Other injuries are informational. AEFP members have experienced difficulties

accessing data on DataLab. Decl. of Kevin Stange ¶ 14; Harris Decl. ¶ 7; see also Kurlaender Decl.

¶ 12. The termination of the remote access program for restricted-use data will also impede AEFP

members’ future projects. Stange Decl. ¶¶ 11–12. And AEFP members have been forced to shelve,

reconsider, or postpone research because of the cancellation of research that they rely upon in

doing their work, or because of delays in the restricted-data process. See Gee Decl. ¶¶ 12–15

(discussing impact of cancellation of ECLS-K:2024); Stange Decl. ¶¶ 13–14 (discussing impact

of delays in disclosure reviews and of cancellation of NPSAS); Kurlaender Decl. ¶¶ 12–14

(discussing impacts on AEFP members and her own research); Evans Decl. ¶¶ 11–13 (discussing

suspension of his and others’ work due to changes to disclosure review process).



                                                 22
     Case 1:25-cv-00999-TNM            Document 6-1         Filed 04/17/25      Page 36 of 57




         These harms are concrete and cognizable under Article III. AEFP members’ difficulties or

inability to access information that enables them to do their work—information that Congress has

explicitly provided must be made available to them—is an “injury both concrete and specific to

the work in which they are engaged.” People for the Ethical Treatment of Animals v. USDA, 797

F.3d 1087, 1094 (D.C. Cir. 2015); see Doctors for Am. v. Office of Personnel Mgmt., __ F. Supp.

3d __, 2025 WL 452707, at *4 (D.D.C. Feb. 11, 2025) (holding professional association had

standing based on denial of information that would impact members’ ability to do their jobs). And

the inability to compete for grants is also sufficient harm to establish standing. See Seton Historic

Aviation Found. v. U.S. Dep’t of Def., 785 F.3d 719, 724 (D.C. Cir. 2015) (holding that “a plaintiff

suffers a constitutionally cognizable injury by the loss of an opportunity to pursue a benefit ... even

though the plaintiff may not be able to show that it was certain to receive that benefit had it been

accorded the lost opportunity” (quoting CC Distribs., Inc. v. United States, 883 F.2d 146, 150

(D.C. Cir. 1989)).

         As with the injuries to AEFP and IHEP as organizations, these injuries to AEFP members

are caused by Defendants’ dismantling of IES and terminating its performance of its research and

dissemination functions. An order requiring those functions to be restored would redress those

harms.

         The other two elements of associational standing are easily met as well. This action is

plainly germane to AEFP’s mission of providing a forum for discussing, and encouraging and

supporting, evidence-based education-related research. See Kurlaender Decl. ¶¶ 5–7. And

individual member participation is not necessary in this case given the nature of plaintiffs’ claims

and because AEFP “seek[s] prospective and injunctive relief, not damages for its members.”

Powder River Basin Res. Council v. U.S. Dep’t of Interior, 749 F. Supp. 3d 151, 163 (D.D.C.



                                                  23
     Case 1:25-cv-00999-TNM             Document 6-1        Filed 04/17/25   Page 37 of 57




2024); see also NRDC v. Raimondo, No. CV 23-982 (BAH), 2024 WL 4056653, at *15 (D.D.C.

Sept. 5, 2024).

       B.         Plaintiffs are likely to succeed on their claims.

       Under the Administrative Procedure Act (APA), a court may set aside final agency action

when that action is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706(2)(A). And apart from the APA, federal courts have inherent authority

to “grant injunctive relief” against federal officers “who are violating, or planning to violate,

federal law.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326–27 (2015). Here,

Defendants have taken a series of interrelated actions that, both individually and collectively,

violate their statutory obligations and reflect a complete lack of reasoned decisionmaking, and are

outside the scope of their authority under the Constitution.

                  1.     Defendants’ actions are reviewable final agency action.

       While Defendants have not completed the dismantling of IES, they have taken at least four

discrete agency actions to carry out that goal: (1) They made the decision to terminate programs

by canceling contracts en masse, announced on February 10, 2025. (2) They made the decision to

terminate the Regional Educational Laboratory program, announced on February 13, 2025.

(3) They instituted a reduction-in-force affecting 90% of IES staff, announced on March 11, 2025.

(4) They terminated the remote access program for restricted-use data, effective June 1, 2025,

announced on February 10, 2025. See NTEU v. Vought, 2025 WL 942772, at *13 (“There is

nothing abstract about firing employees, cutting off the funding stream, terminating contracts, or

stopping all work.”). Each of these actions is reviewable by this Court pursuant to sections 702

and 704 of the APA.




                                                  24
     Case 1:25-cv-00999-TNM            Document 6-1         Filed 04/17/25      Page 38 of 57




       First, each action is a final agency action, as it reflects “the consummation of the agency’s

decisionmaking process” and are ones “from which legal consequences flow.” Bennett v. Spear,

520 U.S. 154, 177–78 (1997). The final agency action requirement is satisfied where, for example,

it “limits or defeats a party’s ability to enter into an advantageous [] arrangement,” Spirit Airlines,

Inc. v. U.S. Dep’t of Transp., 997 F.3d 1247, 1252 (D.C. Cir. 2021), or binds agency “staff by

forbidding them to continue [a] program,” Biden v. Texas, 597 U.S. 785, 802 (2022). Here, the

challenged actions have deprived researchers and the public of information by terminating ongoing

research and activities and methods for disseminating that research, stopped 90% of IES

employees from performing work tasks, and shut off all remote access to restricted-use data. These

actions have “direct and appreciable legal consequences.” Bennett, 520 U.S. at 178. That

Defendants have taken several final agency actions at once does not make those actions

nonreviewable. See New York v. Trump, __ F.4th __, 2025 WL 914788 (1st Cir. Mar. 26, 2025)

(“[W]e are not aware of any supporting authority for the proposition that the APA bars a plaintiff

from challenging a number of discrete final agency actions all at once.”); Widakuswara v. Lake,

No. 25-CV-2390 (JPO), 2025 WL 945869, at *5 (S.D.N.Y. Mar. 28, 2025) (“The termination of

contracts with partner organizations and the dismantling of critical infrastructure leading to the

complete halt of agency programming are final agency actions.”).

       Second, the sovereign immunity waiver of 5 U.S.C. § 702 has not been displaced by any

other statute. The Tucker Act does not displace Plaintiff’s claims about the termination of IES’s

functions to the extent that the claims relate to the cancellation of contracts because they are not

“disguised contract claims.” Megapulse, Inc. v. Lewis, 672 F.2d 959, 969 (D.C. Cir. 1982). As this

Court recently recognized, “even if a dispute implicates a contract, it may be heard in district court

if it still ‘stems from a statute or the Constitution.’” U.S. Conf. of Cath. Bishops v. U.S. Dep’t of



                                                  25
     Case 1:25-cv-00999-TNM            Document 6-1         Filed 04/17/25      Page 39 of 57




State, No. 1:25-CV-00465 (TNM), 2025 WL 763738, at *4 (D.D.C. Mar. 11, 2025) (quoting

Transohio Sav. Bank v. Dir., Off. Of Thrift Supervision, 967 F.2d 598, 609 (D.C. Cir. 1992)).

Whether a claim that implicates federal contracts may proceed in district court under the APA

“turns on two key considerations: ‘The source of the rights upon which the plaintiff bases its

claims’ and ‘the type of relief sought.’” Id. (quoting Albrecht v. Comm. on Emp. Benefits of Fed.

Rsrv. Emp. Benefits Sys., 357 F.3d 62, 68 (D.C. Cir. 2004)). Here, Plaintiffs’ rights derive from

statutes—including the APA and ESRA—and the relief sought is not monetary, but rather an

injunction requiring the agency to continue its statutorily mandated work. “[E]ven to the extent

that payments might result from Plaintiffs’ APA claims, they do not resemble a ‘money damages’

claim, for breach of contract or otherwise.” AIDS Vaccine Advoc. Coal. v. U.S. Dep't of State, No.

CV 25-00400 (AHA), 2025 WL 752378, at *8 (D.D.C. Mar. 10, 2025). Rather, “Plaintiffs assert

APA claims to invalidate agency policy directives.” Id. at *9. By the same token, to the extent

Plaintiffs’ claims arise out of mass reductions-in-force, they are not displaced by any statute related

to federal-sector employment. Their challenge—based on failures to comply with the reasoned

decisionmaking requirements of the APA and termination of functions required by ESRA, the

Higher Education Opportunity Act, and other statutes—are “wholly collateral to the statutory

scheme[s]” enforced by the Federal Labor Relations Authority and Merit Systems Protection

Board, and outside the expertise of those agencies. Am. Fed. of Gov’t Emps. v. Trump, 929 F.3d

748, 760 (D.C. Cir. 2019). Whether the reduction-in-force complied with the statutes enforced by

those agencies is not at issue here.

       Finally, no other adequate alternative remedy exists by which Plaintiffs may obtain relief.

See 5 U.S.C. § 704. There is no administrative or other mechanism to challenge the termination of

the remote access program for restricted-use data. Whether or not some other parties may able to



                                                  26
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 40 of 57




challenge the termination of contracts, or the reduction-in-force, there is no doubt that Plaintiffs,

who are harmed by those actions, have no mechanism to do so. Moreover, any actions brought by

such parties would not provide the relief sought here: vacatur of the challenged actions.

               2.      The termination of IES research and dissemination activities was
                       unlawful.

                       a.      The termination of IES activities was arbitrary and capricious.

       The APA “requires agencies to engage in ‘reasoned decisionmaking.’” DHS v. Regents of

the Univ. of Cal., 591 U.S. 1, 16 (2020) (quoting Michigan v. EPA, 576 U.S. 743, 750 (2015)). To

do so, an “agency must examine the relevant data and articulate a satisfactory explanation for its

action including a rational connection between the facts found and the choice made.” Motor

Vehicles Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983) (cleaned

up). Courts reviewing agency action for compliance with this standard “consider whether the

[agency’s] decision was based on a consideration of the relevant factors and whether there has

been a clear error of judgment.” Id. (cleaned up). Where an agency fails “to consider or to

adequately analyze the… consequences of” its actions, it has failed to engage in reasoned

decisionmaking. Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 932 (D.C. Cir. 2017).

Defendants’ decisions to terminate IES activities by terminating IES programs en masse and to

eliminate 90% of IES staff, without any reasoned explanation, do not comply with this requirement

of rationality. See NTEU v. Vought, 2025 WL 942772, at *40 (finding plaintiffs likely to succeed

on the merits of their APA claim where “there was little or no analysis undertaken before the

employees were ordered to put their pencils down, before all of the agency's contracts were

cancelled”); Widakuswara, 2025 WL 945869, at *5 (finding defendants violated the APA where

they “failed to provide adequate reasoning behind the sweeping changes to [an agency] and

seemingly failed to consider any reliance issues in effectively closing the agency”).


                                                 27
     Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 41 of 57




       Defendants failed to consider several important factors before terminating IES research

and dissemination activities. For one, Defendants did not consider that IES could not fulfill its

statutory mission without the terminated programs. Defendants canceled these programs without

any input from IES staff members who oversee them, and who could have explained how the

programs fulfill statutory duties—either directly or indirectly. See Young Decl. ¶ 8. And

Defendants failed to consider the interrelatedness of canceled programs with other programs; as

the former IES Director appointed by President Trump in his first term, Mark Schneider, put it,

contracts were canceled without realizing that “[i]f you break X, you’re actually breaking Y and

Z,” reflecting “a lack of experience, a lack of information.”45 For example, ED canceled a contract

to provide support to the Administrative Data Division, which is actually necessary for the conduct

of NAEP—a program that agency says it does not intend to cancel.46

       Defendants also failed to consider how their actions would make it impossible to re-launch

programs via new contracts. For example, terminating the peer review program means that IES

cannot award new grants or contracts, or publish IES-supported research, because the statute

requires peer review to do so. See 20 U.S.C. §§ 9520, 9576(c). And eliminating 90% of staff means

there is no one left to oversee the bidding and awarding process of any new contracts. See Young

Decl. ¶ 16.

       Indeed, because of the mass termination of contracts, IES staff will have more work to do,

not less. IES staff resources are necessary not only to close out contracts, but, if IES’s statutory




   - 45 Greg Toppo, “Is Trump Gutting Education Research a New Beginning or Just ‘Slashing
& Burning’?”, The 74, Feb. 11, 2025, https://www.the74million.org/article/is-trump-gutting-
education-research-a-new-beginning-or-just-slashing-burning/ (quoting former IES Director Mark
Schneider).
       46
            Award ID 91990020A0014/91990022F0350; see Barshay, note 16, supra.

                                                28
     Case 1:25-cv-00999-TNM           Document 6-1       Filed 04/17/25      Page 42 of 57




work is to continue, to either do work that had been done by contractors themselves or to oversee

the bidding and selection processes for new contracts. See Young Decl. ¶ 14. There is no indication

that Defendants took these needs into consideration before slashing 90% of IES staff. To the

contrary, Defendants’ placement of 90% of IES staff on administrative leave means that work

required by statute that IES staff members were already performing has ceased—even for

programs as to which Defendants did not terminate contracts. For example, because none of the

staff who work on the National Evaluation of Comprehensive Centers program, which is mandated

by 20 U.S.C. § 9603, remain on active work status, that program has halted—even though the

contracts those staff members supervised remain open. Jackson Decl. ¶¶ 12–13. The remaining

staff cannot carry out the work that is left. See Declaration of Thomas Weko ¶ 22; Young Decl. ¶¶

15–16; Abigail Doe Decl.¶ 14. As NCES’s former Deputy Commissioner put it, “The idea of

having three individuals manage the work that was done by a hundred federal employees supported

by thousands of contractors is ludicrous and not humanly possible.”47

       Although Defendants have pointed to Executive Order 14210 as the basis for the RIFs,

Young Decl. ¶ 13, Ex. 2, nothing in Executive Order 14210 required Defendants to terminate 90%

of IES staff—or to do so without considering the impacts of that action on the ability to perform

statutory functions. To the contrary, section 3(c) of that order, which directs agency heads to

“undertake preparations to initiate large-scale reductions in force,” directed that “offices that

perform functions not mandated by statute or other law shall be prioritized in the RIFs.” 90 Fed.

Reg. at 9669 (emphasis added). IES, though, performs functions mandated by statute, as discussed

above. And, in both section 3(c) and section 5(b), the Executive Order makes clear that any


       47
           Jill Barshay, “Chaos and confusion as the statistics arm of the Education Department is
reduced to a skeletal staff of 3,” The Hechinger Report, Mar. 14, 2025,
https://hechingerreport.org/proof-points-chaos-confusion-statistics-education/.

                                                29
     Case 1:25-cv-00999-TNM           Document 6-1       Filed 04/17/25    Page 43 of 57




reductions in force must be “consistent with applicable law.” id. at 9669, 9671. Nothing in the

Order suggests that agencies are required to terminate the employees necessary to comply with

statutory obligations, as Defendants have done.

       There is also no indication that Defendants considered any relevant factors in terminating

the cancellation of the contracts for the Regional Educational Laboratory program. ED’s

contemporaneous explanation, that the contracts were “woke spending,” is irrational. Whatever

the term “woke spending” means, such a label cannot be described en toto to the work of the ten

statutorily mandated Regional Educational Laboratories around the country, whose widely

respected non-ideological work and technical assistance ranged from practice guides on the use of

assessment data to inform the teaching of reading skills, to a cooperative study with the Texas

Higher Education Coordinating Board to evaluate its new embedded associate degree program.48

To terminate all work of the Regional Educational Laboratories because of a vague disagreement

with some unidentified subset of that work, without even considering more surgical action, is

arbitrary and capricious. See Spirit Airlines, Inc. v. DOT, 997 F.3d 1247, 1255 (D.C. Cir. 2021)

(holding that the requirement of considering responsible alternatives and giving a reasoned

explanation for such alternatives “goes to the heart of reasoned decisionmaking” and “is not

limited to rulemaking”); see also Abigail Doe Decl. ¶ 8 (explaining how contracts could have been

modified to eliminate work that raised specific policy concerns).

       Defendants also failed to consider the wastefulness of their actions. By terminating

longitudinal studies mid-stream, Defendants wasted money that had already been spent developing

surveys and collecting data—data that may be of little use given that the studies were shutdown



       48
         See IES, The Regional Educational Laboratory (REL) Program, https://ies.ed.gov/use-
work/regional-educational-laboratories-rel.

                                                  30
     Case 1:25-cv-00999-TNM            Document 6-1          Filed 04/17/25   Page 44 of 57




midstream without any adequate time to prepare to close out those studies. See, e.g., Abigail Doe

Decl. ¶¶ 10–11. Even if that data could be of use, Defendants’ rash actions make it unlikely that it

can be. IES staff is necessary to ensure that data from terminated contracts is preserved—but the

staff left is insufficient to do so. Young Decl. ¶¶ 15–16.

       Defendants also failed to take into consideration how terminating programs would impact

reliance interests of researchers and others, or even to acknowledge and explain how their

termination of these contracts reflected a reversal in policy. Several of the canceled research

contracts were for research that ED had previously acknowledged was important and irreplaceable.

For example, NCES had previously described ECLS-K:2024 as “provid[ing] the statistics

policymakers need to make data-driven decisions to improve education for all; contributing data

that researchers need to answer today’s most pressing questions related to early childhood and

early childhood education; and allow[ing] [NCES] to produce resources for parents, families,

teachers, and schools to better inform the public at large about children’s education and

development.”49 The study was important, NCES explained, because it “allows [NCES] to provide

answers at a national level,” was the first NCES “early childhood stud[y] to provide data on a

cohort of students who experienced the coronavirus pandemic,” and would “provide information

on a variety of topics not fully examined in previous national early childhood studies.”50 ED has

given no explanation as to why it changed its mind and canceled the study. Researchers, including

AEFP members, were relying on the study for their work. See Gee Decl. ¶ 13.




       49
         IES, “Celebrating the ECLS-K:2024: Providing Key National Data on Our Country’s
Youngest Learners,” Mar. 11, 2024, https://ies.ed.gov/learn/blog/celebrating-ecls-k2024-
providing-key-national-data-our-countrys-youngest-learners.
       50
            Id.

                                                 31
     Case 1:25-cv-00999-TNM           Document 6-1       Filed 04/17/25     Page 45 of 57




       Similarly, NCES had recognized that NPSAS is “the primary source of information used

by the federal government (and others, such as researchers and higher education associations) to

analyze student financial aid and to inform public policy on such programs as the Pell grants and

Direct/Stafford loans.”51 There is no indication Defendants considered what it would mean for this

primary source of information to disappear, or how researchers like IHEP rely on the information

NPSAS produces. See Stange Decl. ¶ 14; Evans Decl. ¶¶ 5, 14; Voight Decl. ¶¶ 11–12.

       Defendants’ cancellation of contracts related to IES’s dissemination functions similarly

ignored the reliance interests of researchers. For example, Defendants failed to appreciate how

DataLab is used by researchers in doing their daily work, and that without the terminated support

contracts, the platform would crash. See Stange Decl. ¶ 14; Voight Decl. ¶¶ 15–16. And

Defendants did not consider how terminating the remote access program for restricted-use data

and slashing the staff that perform disclosure risk reviews would cause that program to come to a

halt, depriving researchers of access to information that they rely on to do their work and making

it impossible for researchers to publish that work. See Stange Decl. ¶¶ 12–13; Voight Decl. ¶¶ 19–

25; Evans Decl. ¶¶ 11–14; Gee Decl. ¶¶ 14–15; Harris Decl. ¶ 7.

       Only now, after Defendants terminated contracts and staff, are Defendants assessing what

resources are necessary for IES to function—as reflected by IES’s April 4 email to restricted-use

data users. See Voight Decl., Ex. 2. The time to ask questions about what resources are needed to

“continue … vital service[s] and comply with applicable law,” id., is before terminating contracts

and staff. Slashing programs first and asking questions later is the pinnacle of arbitrary and

capricious decisionmaking. See Love v. Thomas, 858 F.2d 1347, 1363 (9th Cir. 1988) (holding that



       51
            NCES, National Postsecondary Student Aid Study (NPSAS), About NPSAS,
https://nces.ed.gov/surveys/npsas/about.asp.

                                               32
     Case 1:25-cv-00999-TNM           Document 6-1       Filed 04/17/25      Page 46 of 57




agency acted arbitrarily and capriciously by “suspending first and asking questions later”); Nat’l

Council of Nonprofits v. OMB, __ F. Supp. 3d __ , 2025 WL 597959, at *14 (D.D.C. Feb. 25,

2025) (concluding that a “freeze first, ask questions later” approach was likely arbitrary and

capricious). “[R]easoned decisionmaking requires giving present consideration to important

aspects of problems—not merely promising to consider those matters at some point in the future.”

Am. Great Lakes Ports Ass’n v. Zukunft, 296 F. Supp. 3d 27, 52 (D.D.C. 2017), aff’d sub nom. Am.

Great Lakes Ports Ass’n v. Schultz, 962 F.3d 510 (D.C. Cir. 2020). As former IES Director

Schneider put it, “These guys came in with a sledgehammer and they just broke s**t.”52

Defendants’ actions are arbitrary and capricious.

                      b.      Terminating IES’s activities is contrary to ESRA and the
                              Higher Education Opportunity Act.

       In addition, Defendants’ actions to dismantle IES are contrary to the statutes that both

establish IES and that vest it with statutory duties. While Defendant McMahon has stated that

“[t]he Department of Education will continue to deliver on all statutory programs that fall under

the agency’s purview,” doing so is not possible as to IES’s dozens of statutory duties. Without the

contracts that have been canceled and with the skeletal remaining staff, ED cannot perform these

duties, which range from mandates to conduct and disseminate research on dozens of topics, to

obligations to continue specific surveys and methods of disseminating information. See Young

Decl. ¶¶ 15–16; Weko Decl. ¶ 23; Abigail Doe Decl. ¶ 14; see also Widakuswara, 2025 WL

945869 at *8 (holding agency likely acted contrary to law when its actions in terminating contracts

and staff meant that “none of the statutory requirements [for the agency] can be effectuated”).



       52
         Kalyn Belsha, “Crucial research halted as DOGE abruptly terminates Education
Department contracts,” Chalkbeat, Feb. 11, 2025, https://www.chalkbeat.org/2025/02/11/elon-
musk-and-doge-cancel-education-department-research-contracts/.

                                                33
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 47 of 57




       Even on the limited record available, it is clear that Defendants have terminated research

required by statute, without instituting replacements, including, as discussed above, at pp. 9–10,

the National Assessment of Adult Education, required by 29 U.S.C. § 3332(b)(3), the Condition

of Education, required by 20 U.S.C § 9545(b), and NPSAS, required by 20 U.S.C. § 1015a(k). In

addition, ED canceled contracts for studies not explicitly mentioned in statutes, but which are the

only way ED fulfills broader statutory duties. For example, in 2024, ED acknowledged that “NCES

is congressionally mandated to collect data on early childhood,” and that it “meet[s] that charge

by conducting ECLS program studies like the ECLS-K:2024 that follow children through the early

elementary grades.”53 Now, ED has terminated ECLS-K:2024, without a replacement. ED has also

terminated all work of all ten statutorily mandated Regional Educational Laboratories. And ED

has terminated one of the three long-term trend NAEP assessments required by 20 U.S.C.

§ 9622(b)(2)(F). Terminating statutorily required research and canceling the contracts for

statutorily mandated peer review, without even the hint of a plan for replacement, is contrary to

law. In addition, other statutorily mandated research that has not been formally canceled has

functionally been, as ED canceled auxiliary contracts that are necessary for that research to be

done—like the contract for the mailing of surveys.

       ED has also terminated the contracts by which it fulfills its statutorily mandated

dissemination activities. By terminating the contract for DataLab, without a replacement, ED has

violated its duty to “disseminat[e] information in a timely fashion and in formats that are easily

accessible and usable by researchers, practitioners, and the general public,” and “utilizing the most

modern technology and other methods.” Id. § 9575. And by gutting IES staff, the elimination of

staff means that there is no one left to supervise those contracts, “clean” and analyze the data, and


       53
            “Celebrating the ECLS-K:2024,” supra note 49.

                                                 34
     Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 48 of 57




prepare the results for public dissemination as required by law. See Weko Decl. ¶¶ 19, 23; Young

Decl. ¶¶ 13–14; Abigail Doe Decl. ¶¶ 12–14.

                       c.     Defendants’ refusal to spend appropriated funds is unlawful.

       By halting IES activities, Defendants have also likely violated appropriations law. “Where

the executive has policy reasons ... for wanting to spend less than the full amount appropriated by

Congress for a particular project or program, … even the President does not have unilateral

authority to refuse to spend the funds. Instead, the President must propose the rescission of funds,

and Congress then may decide whether to approve a rescission bill,” pursuant to the Congressional

Budget and Impoundment Control Act of 1974 (ICA), 2 U.S.C. § 683. In re Aiken County, 725

F.3d 255, 261 n.1 (D.C. Cir. 2013) (Kavanaugh, J.). Absent compliance with that procedure,

congressionally appropriated funds “shall be made available for obligation.” 2 U.S.C. § 683(b).

Because none of the ICA’s statutory preconditions have been satisfied, Defendants lack authority

to withhold appropriated funds, as they are doing here by eliminating IES’s contracts, and its

staff—including $ 53,733,000 specifically obligated for the operation of the now completely

shuttered Regional Educational Laboratories. See AIDS Vaccine Advocacy Coalition, 2025 WL

752378, at *15–17. To the extent that Defendants are simply holding onto the appropriated funds,

doing so is prohibited by the Antideficiency Act, which specifies that the executive branch may

reserve appropriated funds “only … to provide for contingencies; … to achieve savings made

possible by or through changes in requirements or greater efficiency of operations; or … as

specifically provided by law.” 31 U.S.C. § 1512(c)(1). Defendants have not identified any

contingencies or sources of law that justify holding appropriated IES funds in reserve when

statutory programs are not being performed. And as explained above, any suggestion that the mass

termination of contracts and staff will support efficiency gains is unsupported by any evidence or



                                                35
         Case 1:25-cv-00999-TNM        Document 6-1        Filed 04/17/25      Page 49 of 57




reasoned analysis.

                        d.     Halting IES’s work is contrary to the separation of powers and
                               ultra vires.

          As explained in the accompanying declarations of current and former IES employees,

Defendants’ actions effectively dismantle IES by making it impossible to perform its statutory

functions. See Weko Decl. ¶ 23; Young Decl. ¶¶ 15–16; Abigail Doe Decl.¶ 14. IES, however, is

a creation of statute, and Defendants’ actions to shut down a statutorily created agency are ultra

vires.

          The Framers of the U.S. Constitution “divide[d] the delegated powers of the new federal

government into three defined categories, legislative, executive and judicial, to assure, as nearly

as possible, that each Branch of government would confine itself to its assigned responsibility.”

INS v. Chadha, 462 U.S. 919, 951 (1983). As relevant here, “[t]here is no provision in the

Constitution that authorizes the President to enact, to amend, or to repeal statutes.” Clinton v. City

of New York, 524 U.S. 417, 438 (1998). And no exception for statutes that establish agencies and

imbue them with specific functions exists. See J. Does 1-26 v. Musk, No. 25-1273, 2025 WL

1020995, at *7 (4th Cir. Mar. 28, 2025) (Gregory, J., concurring) (“[T]he Executive branch may

not eliminate a congressionally created and funded agency without congressional authorization.”).

          Here, rather than respecting Congress’s exclusive “power to make a law,” Wilkerson v.

Rahrer, 140 U.S. 545, 562 (1891), Defendants have disregarded Congress’s legislative authority

entirely—seeking to terminate IES’s performance of its statutory functions, in direct contravention

of both the statutes that establish IES and its functions, and of 20 U.S.C. § 3473(a), which prohibits

the Secretary from “aboli[shing]” any statutory entity within ED, or reassigning congressionally

allocated functions to another ED entity.




                                                 36
     Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 50 of 57




       Defendants’ justifications for their actions make clear that the termination of IES’s

programs and activities are not an exercise of “executive discretion” to “interpret[] a statute and

direct[] the details of its execution,” J.W. Hampton, Jr. & Co. v. United States, 276 U.S. 394, 406

(1928), or to flexibly implement Congress’s “broad general directives,” Mistretta v. United States,

488 U.S. 361, 372 (1989). Rather, Defendants apparently disagree with the very principle

underlying Congress’s creation of IES and its continued annual appropriations to IES: that

supporting, conducting, and disseminating evidence-based education research is important and

valuable. See 20 U.S.C. § 9511(b) (setting out IES’s mission). In a thread on X, “setting the record

straight about IES and its contracts,” ED suggested that IES’s work was jettisoned because (citing

IES data) “[t]here has been no meaningful increase in average math scores from IES’ inception to

pre-pandemic” and because federal money should not be spent on “conferences and reports on

reports.”54 But Congress has not conditioned IES’s continued operations on increases in test scores.

And while current leadership may think “reports on reports” are wasteful, Congress has explicitly

required “reports on reports”—more formally known as research evaluations and mandated by 20

U.S.C. § 9562(a) and § 9534(b)(2). Defendants’ disagreement with this requirement does not allow

them to disregard it. Cf. Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 325 (2014) (“An agency has

no power to ‘tailor’ legislation to bureaucratic policy goals by rewriting unambiguous statutory

terms.”).

       “An administrator’s responsibility to carry out the Congressional objectives of a program

does not give him the power to discontinue that program, especially in the face of a Congressional

mandate that it shall go on.” Loc. 2677, Am. Fed’n of Gov’t Emp. v. Phillips, 358 F. Supp. 60, 77–



       54
               ED       (@usedgov),      X.com            (Feb.      12,       2025       5:16pm).
https://x.com/usedgov/status/1889800710084317454.

                                                37
     Case 1:25-cv-00999-TNM              Document 6-1      Filed 04/17/25      Page 51 of 57




78 (D.D.C. 1973). That is what Defendants are doing here. Plaintiffs are thus likely to prevail on

their claim that Defendants’ actions in dismantling IES violate the separation of powers and that

they are therefore entitled to permanent injunctive relief on the first Count of their complaint, ECF

1 at ¶¶ 84–88. See Correctional Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001) (“[I]njunctive

relief has long been recognized as the proper means for preventing entities from acting

unconstitutionally.”); Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 491

n.2 (2010) (recognizing an implied right of action under the Constitution to seek injunctive relief

for a separation-of-powers violation).

                  3.   The termination of the remote access program for restricted-use data
                       is unlawful.

       In addition to their mass actions to halt activities of IES by terminating contracts and

eliminating staff, the termination of the remote access program for restricted-use data is

independently unlawful. As former Director Schneider explained, IES’s remote access program

for restricted-use data, “eases access to sensitive confidential microdata” and serves as “a model

of how data can be protected while facilitating access to contemporary cloud infrastructure for

improved collaboration, access to shared computing resources, and other benefits.”55 The creation

of the program was a means of providing “state education and workforce agencies, post-secondary

institutions, and non-profits” with “safe access to NAEP and other student data from IES.”56 As

discussed above, on February 10, citing “budgetary and programmatic considerations,”

Defendants announced the termination of the entire remote access to restricted-use data program.

Voight Decl., Ex. 1. As one researcher explained, this cancelation means “that we are now gonna


       55
           Mark Schneider, “Modernizing Access to Education Data Could Improve Student
Learning,” Education Next, June 12, 2024, https://www.educationnext.org/modernizing-access-to-
education-data-could-improve-student-learning/.
       56
            Id.

                                                 38
     Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25      Page 52 of 57




look at data on CDs, they’re gonna be mailed out across the country instead of stored securely in

an online data platform.”57 Limiting access to restricted-use data to cold rooms will significantly

impact researchers’ ability to use such data. See Stange Decl. ¶¶ 11–12 (explaining how physical-

access computers lack computing power of remote server and cause access issues); Voight Decl.

¶ 19 (noting infeasibility of a cold room for IHEP).

       Defendants’ cursory explanation accompanying their announcement does not suffice to

satisfy the requirements of reasoned decisionmaking. To the contrary, the February 10 email

indicates that Defendants acted so rashly that they were still unsure whether they could set up a

plan to transfer “all user-generated materials (code, output, etc.)” from the existing remote system

“to NCES so that the materials could then be transferred to users who establish cold rooms.”

Voight Decl., Ex. 1. And the April 4 email suggests that Defendants made no assessment as to the

needs of restricted data users at all before making their decision to terminate the program. Id., Ex.

2. No emergency required this sudden, arbitrary termination of the program. Defendants had

sufficient financial and staff resources to continue the program; they have chosen to terminate their

employees instead. Moreover, Defendants did not explain why they had changed their view that

the remote access program was important to address the access issues that had led it to be created

in the first place. In addition, Defendants were required “to assess whether there were reliance

interests, determine whether they were significant, and weigh any such interests against competing

policy concerns” before terminating the program. DHS v. Regents of Univ. of Cal., 591 U.S. at 33.

There is no evidence that Defendants did so. But organizations like IHEP and researchers like




       57
           Ryan Quinn & Katherine Knott, “$900 Million in Institute of Education Sciences
Contracts Axed,” Inside Higher Ed, Feb. 12, 2025, https://www.insidehighered.com/news/faculty-
issues/research/2025/02/12/900m-institute-education-sciences-contracts-axed#.

                                                 39
      Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25       Page 53 of 57




AEFP members rely on remote restricted-use data licenses to do their work and have built their

work flows around it. Voight Decl. ¶ 19; Stange Decl. ¶ 12.

       Moreover, Defendants failed to consider policy considerations mandated by Congress—

thus acting both arbitrarily and capriciously and contrary to law. The Confidential Information

Protection and Statistical Efficiency Act directs federal statistical agencies, including NCES, to

expand secure access to confidential data used to inform policymaking. 44 U.S.C. § 3582(a); see

also 5 C.F.R. § 1321.4(d) (implementing regulation relating to “innovation and burden reduction”).

Defendants’ termination of all remote access to that data is contrary to this mandate. In addition,

ESRA requires IES to “disseminat[e] information in a timely fashion and in formats that are easily

accessible and usable by researchers, practitioners, and the general public,” and “utilizing the most

modern technology and other methods.” 20 U.S.C. § 9575. Limiting access to restricted data to

dedicated secure facilities and physical media neither involves an “easily accessible and usable”

format nor does it reflect “the most modern technology.”

       For all these reasons, Plaintiffs are likely to prevail on their claims based on the termination

of the remote access program for restricted-use data.

II.    AEFP, AEFP members, and IHEP will suffer irreparable harm absent a preliminary
       injunction.

       “An irreparable harm is an imminent injury that is both great and certain to occur, and for

which legal remedies are inadequate.” Beattie v. Barnhart, 663 F. Supp. 2d 5, 9 (D.D.C. 2009).

Here, Plaintiffs’ injuries are not only imminent and certain—they are already occurring. Plaintiffs

are suffering, and will continue to suffer, irreparable harm from Defendants’ termination of IES

research and dissemination activities, reduction-in-force, and termination of the remote access

program for restricted-use data.




                                                 40
      Case 1:25-cv-00999-TNM            Document 6-1        Filed 04/17/25       Page 54 of 57




       As a result of Defendants’ actions, AEFP, its members, and IHEP will be denied access to

information they are statutorily entitled to, and/or face delays in obtaining that information. Courts

in this district have frequently recognized injuries that derive from a lack of timely access to current

information as irreparable. See, e.g., Am. Immigration Council v. DHS, 470 F. Supp. 3d 32, 37–38

(D.D.C. 2020); Nat’l Ass’n of the Deaf v. Trump, 486 F. Supp. 3d 45, 58 (D.D.C. 2020); see also

Payne Enters., Inc. v. United States, 837 F.2d 486, 494 (D.C. Cir. 1988) (recognizing that “stale

information is of little value”). The facts here show why--AEFP members and IHEP have already

had to make changes to their plans to conduct and disseminate research and analysis. And, come

June 1, IHEP will have no way of accessing restricted-use data, because it is impractical and

burdensome for them to meet the requirements for a physical data license. Voight Decl. ¶ 19.

There is no legal recourse to remedy the injury caused when a researcher cancels a project, or

delays or cancels publication based on either a lack of data from IES, or because of IES’s delays

in approving publication. See United Farm Workers v. Perdue, No. 120CV01452DADJLT, 2020

WL 6318432, at *15 (E.D. Cal. Oct. 28, 2020) (granting preliminary relief because otherwise “data

will not have been gathered and will not be available when it is needed”). Such is the case with the

injuries suffered here.

       Preliminary relief is also necessary to avoid a devastating long-term impact of research

pauses, halted longitudinal studies and long-term data collections. Waiting to restart them, as one

researcher explained, would be “comparable to the interruption of the COVID epidemic, which

shut many researchers out of schools for months, diluting the effectiveness of their research and,

in some cases, requiring them to insert asterisks for the years when no data was available.”58 Now,


       58
          Greg Toppo, “Stunned Education Researchers Say Cuts Go Beyond DEI, Hitting Math,
Literacy,” The 74, Feb. 13, 2025, https://www.the74million.org/article/stunned-education-
researchers-say-cuts-go-beyond-dei-hitting-math-literacy/.

                                                  41
       Case 1:25-cv-00999-TNM            Document 6-1         Filed 04/17/25   Page 55 of 57




only two months out from the contract cancellations, researchers’ contact information for study

participants likely remains current, and teams can likely be rebuilt. Similarly, the backlogs in

restricted-use data reviews will only get longer because no staff is on board to work on them. Just

as important, the IES staff who are currently on administrative leave, who have the requisite

knowledge about the impacted programs and statutory mandates, can be restored to active-duty

status before their termination in June. Similarly, the longer that websites go un-updated or

maintained, the harder it will be to restore them. As one court recently recognized, “shutting down

necessary systems, laying off personnel, and terminating contracts, even ones that might be able

to be eventually reinstated, halt agency function in the short term and threaten the efficacy of the

agency in the long-term.” See Widakuswara, 2025 WL 945869, at 9. If not promptly restored, it

would take months, if not years, to piece back together the infrastructure, staff, and contractual

relationships to restart IES and make it fully functional. And money damages cannot remedy these

harms. See id.; NTEU v. Vought, 2025 WL 942772, at *41 (“Once the agency is gone, there will

be no opportunity to afford relief at a later point in the litigation.”).

III.    The balance of equities and the public interest support the grant of a preliminary
        injunction.

        Finally, the balance of equities and the public interest support Plaintiffs’ requested relief.

“It is well established that the Government ‘cannot suffer harm from an injunction that merely

ends an unlawful practice.’” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020) (quoting

Open Cmties. Alliance v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017)). Thus, Plaintiffs’

“extremely high likelihood of success on the merits is a strong indicator that [injunctive relief]

would serve the public interest.” League of Women Voters of United States v. Newby, 838 F.3d 1,

12 (D.C. Cir. 2016). And “[t]here is generally no public interest in the perpetuation of an unlawful

agency action.” Open Cmties. Alliance, 286 F. Supp. 3d at 179 (citation omitted). “To the contrary,


                                                   42
      Case 1:25-cv-00999-TNM           Document 6-1        Filed 04/17/25      Page 56 of 57




there is a substantial public interest in having governmental agencies abide by the federal laws.”

Id. (citation omitted).

        Here, there is a substantial public interest in allowing IES to continue to function and serve

its statutory mission. IES’s work is vital to not just researchers like IHEP and AEFP members, but

to policymakers, educators, and the public. See, e.g., Weko Decl. ¶ 23 (explaining how IES helps

“federal and state policymakers, those who lead and manage higher education institutions,

researchers, and the public at large to understand the state of the U.S. education system”); Harris

Decl. ¶ 10 (explaining that, without IES’s work, “the education research community as a whole

will suffer”); Gee Decl. ¶ 7 (explaining how canceled project would impact educators); Stange

Decl. ¶ 9 (explaining how restricted-use data is necessary for tool to be used by researchers and

policymakers). The data it produces is irreplaceable. See, e.g., Stange Decl. ¶ 15, And, through its

evaluation work, IES “identifies what works and what doesn’t.”59 As reflected by Congress’s

creation of IES, and continued appropriations of hundreds of millions of dollars for its work, the

public is well-served by the evidence-based infrastructure for education research and policy that

IES has provided for more than twenty years.

                                          CONCLUSION

        For the foregoing reasons, this Court should grant Plaintiffs’ motion for a preliminary

injunction and (1) order Defendants’ to take steps to restore the activities canceled as a result of

their mass contract termination; (2) order the restoration of the IES employees who were placed



        59
           Nicole M. McNeil & Robert Stuart Siegler, “Helping teachers learn what works in the
classroom − and what doesn’t − will get a lot harder without the Department of Education’s
Institute     of     Education Sciences,”     The     Conversation,       Feb.     12,    2025,
https://theconversation.com/helping-teachers-learn-what-works-in-the-classroom-and-what-
doesnt-will-get-a-lot-harder-without-the-department-of-educations-institute-of-education-
sciences-247675.

                                                 43
     Case 1:25-cv-00999-TNM          Document 6-1           Filed 04/17/25       Page 57 of 57




on administrative leave en masse to active work status; and (3) suspend the termination of the

remote access program for restricted-use data.

Dated: April 17, 2025                                 Respectfully submitted,

                                                      /s/ Adam R. Pulver
                                                      Adam R. Pulver (DC Bar No. 1020475)
                                                      Karla Gilbride (DC Bar No. 1005886)
                                                      Public Citizen Litigation Group
                                                      1600 20th Street NW
                                                      Washington, DC 20009
                                                      (202) 588-1000
                                                      apulver@citizen.org

                                                      Attorneys for Plaintiffs




                                                 44
